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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


JANE R. G. DOE,                                   CASE NO. 1:18-cv-1007

                     Plaintiff.
v.                                                HON.

 MICHIGAN STATE UNIVERSITY;
 THE BOARD OF TRUSTEES OF MICHIGAN                COMPLAINT AND JURY
   STATE UNIVERSITY;                              DEMAND
 MICHIGAN STATE UNIVERSITY SPORTS
   MEDICINE CLINIC;
 LAWRENCE G. NASSAR (individually);
 WILLIAM D. STRAMPEL (individually);
 JEFFREY R. KOVAN (individually);
 DOUGLAS DIETZEL (individually);
 GARY STOLLAK (individually);
 MICHAEL SHINGLES (individually);
 IRA ZALTZ (individually);
 USA GYMNASTICS, INC.;
 TWISTARS USA, INC, dba GEDDERT’S
   TWISTARTS GYMNASTICS CLUB, USA;
   and
 JOHN GEDDERT (individually),

                   Defendants.
_____________________________________________/

PAUL H. GRANT, (P72906)               MATTHEW A. FERRI (P71439)
PLANNING WITH PURPOSE, INC            LAW OFFICE OF MATTHEW A. FERRI, PLLC
Attorney for Plaintiff                Attorney for Plaintiff
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                                       COMPLAINT
NOW COMES Plaintiff, Jane R. G. Doe, by and through her attorneys, PAUL H. GRANT of

Planning With Purpose, Inc and MATTHEW A. FERRI of Law Office of Matthew A. Ferri, PLLC,

and states the following for her Complaint and Jury Demand:



                           INTRODUCTION AND BACKGROUND

        1.    This is a civil action for declaratory, injunctive, equitable, and monetary relief for

injuries sustained by Plaintiff as a result of the acts, conduct, and omissions of Lawrence Gerard

Nassar (“NASSAR”), Michigan State University (“MSU”), Board of Trustees of Michigan State

University (collectively with Michigan State University, “MSU”), MSU Sports Medicine Clinic

(“CLINIC”), William D. Strampel (“STRAMPEL”), Jeffrey R. Kovan (“KOVAN”), Douglas

Dietzel (“DIETZEL”), Gary Stollak (“STOLLAK”), Michael Shingles (“SHINGLES”), Ira Zaltz

(“ZALTZ”), Eric A. Covan (“COVAN”), USA Gymnastics, Inc. (“USAG”), Twistars USA, Inc

(dba: Geddert’s Twistars Gymnastics Club, USA) and John Geddert, individually (collectively,

“TWISTARS”), and their respective employees, representatives, and agents, relating to sexual

assault, abuse, molestation, and nonconsensual sexual touching and harassment by NASSAR

against Plaintiff.

        2.    Plaintiff was a gymnast at TWISTARS from 2005 through 2010 and was introduced

to NASSAR at the TWISTARS facility. Plaintiff was a competitive gymnast and trained at

TWISTARTS and participated in USAG sanctioned events. Plaintiff paid TWISTARS to be

trained at its facilities and to be chaperoned at practice and events. Plaintiff paid USAG to be a

member.




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       3.    Plaintiff began seeing NASSAR at the age of 12 for a period of 4 years,

approximately from 2007 – 2011. Shortly after beginning to see NASSAR at TWISTARS,

NASSAR requested Plaintiff begin seeing him at the CLINIC where NASSAR was employed.

Plaintiff regularly visited CLINIC, and NASSAR continuously requested for Plaintiff to continue

sessions with him under the guise of medical treatment. It has now been discovered that NASSAR,

under the supervision of TWISTARS, MSU, MSU TRUSTEES, USAG, and others, has sexually

molested and assaulted hundreds of girls, most of whom were minors, as was Plaintiff.

       4.    At all relevant times NASSAR:

            a. was employed by MSU and CLINIC;

            b. was sanctioned and retained by USAG to provide medical treatment to gymnasts;

            c. was invited to TWISTARS’s facility;

            d. had unfettered access and was invited and encouraged to build relationships with

               minors at TWISTARS, MSU, CLINIC, and USAG; and

            e. was under the supervision of MSU, CLINIC, STRAMPEL, KOVAN, STOLLAK,

               and DIETZEL.

       5.    NASSAR came highly recommended to Plaintiff as a renowned orthopedic sports

medicine physician, purportedly well-respected in the sports medicine community, specifically in

the gymnastics community as the Team Physician for the United States Gymnastics team. His

credentials were often touted and created an environment that Plaintiff was lucky to have access

to NASSAR and that he was one of the world’s most leading experts in his field of osteopathy.

He was known as “the best of the best.”

       6.    Gymnastics is a harsh sport, and all gymnasts end up injured in one degree or another

when in competitive gymnastics. Plaintiff was no different. She trained minimally 4 days a week,




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averaging 24 hours a week, at TWISTARS. Plaintiff trained after school and on weekends,

including competitions and meets each year. Plaintiff’s training created multiple injuries to her

elbow, shoulders, back, hips, wrists, ankles, and hands. The conglomerate of repeated injuries

created chronic pain and the inability to fully perform.

       7.    While at TWISTARS, Plaintiff was directed by coaching staff to see NASSAR for

several injuries. Many times, NASSAR saw Plaintiff at TWISTARS without parental supervision

or knowledge. After many visits at TWISTARS, NASSAR invited Plaintiff to see him privately

at the CLINIC.

       8.    At the CLINIC, NASSAR was more aggressive in his treatment plan with Plaintiff.

Plaintiff had low-back and hip pain, and NASSAR utilized treatments that were intrusive.

NASSAR recommended a treatment plan that manipulated ligaments, tendons, bones, and muscles

through Plaintiff’s pelvis and pubis area.

       9.    NASSAR claimed that this procedure was called myofascial release. NASSAR

repeatedly placed pressure on, near, and around Plaintiff’s vagina with his fingers and claimed he

was making adjustments that could not be done in any other manner. NASSAR also performed

manual pelvic adjustments and re-alignments by way of pubis and cervical release.

       10.   NASSAR’s repeated procedures caused Plaintiff extreme discomfort and pain.

NASSAR would maneuver his fingers and move them around Plaintiff’s vagina area to create

pressure points for the pubic bone area. NASSAR applied pressure and force throughout the

procedure, often times making Plaintiff wince in pain and discomfort. NASSAR did not stop when

Plaintiff experienced such pain and discomfort but continued the procedure, most times for more

than 15 minutes or longer.




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        11.   Often times NASSAR would touch Plaintiff with his bare fingers, not using gloves

or lubricants. Because he did not utilize or follow proper medical protocols, NASSAR would

massage or rub Plaintiff’s vagina in order perform these procedures.

        12.   Simultaneously, NASSAR would position his other hand and fingers on Plaintiff’s

hips, buttocks, anus, and other areas of her body that were intimate and considered private, except

that Plaintiff believed NASSAR was a doctor and accepted such touchings as a part of the medical

procedure. NASSAR would place his thumb on or at the entrance of Plaintiff’s anus creating

pressure and freely moving around Plaintiff’s anus. NASSAR always utilized some other form of

force or pressure to hold Plaintiff in position to restrict her movement.

        13.   NASSAR would rarely have other practitioners, nurses, or other staff in the room

during these procedures. At times that other students or staff were in the room, the procedure

would not be performed, rather, during the time students were in the room he would discuss

Plaintiff’s issues, check range of motion, and perform other procedures, but not sexually assault

Plaintiff.

        14.   Plaintiff would receive a momentary relief from the pain by the procedure, but her

pain returned the next day and it never subsided and never became less intense by the procedures.

Rather, the procedures were merely a mask to produce an immediate response, enticing Plaintiff

to return for further treatments, and were never intended to create a long-range, full health result.

        15.   NASSAR also gave Plaintiff acupuncture and administered facet block and trigger-

point injections. NASSAR recommended specialized topical creams and other medications. All

of these treatments were of minimal affect and controlled by NASSAR.




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       16.   NASSAR would perform deep tissue massage on Plaintiff’s back, buttocks, hip

flexors, and other body areas, even though outside practitioners were also utilized for rolfing and

other deep tissue massage.

       17.   NASSAR requested that Plaintiff wear shorts or loose clothing so he could easily

access her intimate body locations and could see her whole body. NASSAR regularly instructed

Plaintiff to remove her underwear for visual and physical accessibility.

       18.   With the failed medical recommendations, NASSAR would therefore claim that more

visits were necessary, keeping Plaintiff in his care and under his control.

       19.   NASSAR performed these procedures for many years, often times several times a

week, on Plaintiff.

       20.   NASSAR also had a very engaging personality and knew how to create an

environment of friendliness, care, and false sense of security by joking with Plaintiff, asking her

about school work, accepting friend requests on Facebook, requested that Plaintiff called him by

his first name, ensuring her comfort in a caring manner, called her “sweet” and other niceties,

talked about her potential suitors in the future, complimented her on her athletic ability, talked

about his family and the struggles he was having with his disabled daughter, showed pictures of

his family, and other endearing and personal conversations that engaged and drew Plaintiff to trust

that he cared for her and that she was special.

       21.   NASSAR also freely discussed his communication with other high-profile athletes

around the world, those on the US Olympic Women’s Gymnastics team, and phone calls with other

physicians from around the world. These conversations regularly reinforced his stature in the

medical and sports community to draw Plaintiff and her parents to his trust.




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       22.   These relationship building skills allowed NASSAR to groom Plaintiff into

submitting to sexual exploitation and keep the relationship in a state of Plaintiff believing she

needed his assistance.

       23.   Rather, NASSAR used his position of trust and confidence as a doctor in an abusive

manner to sexually assault, batter, molest, and harass Plaintiff for his own gratification and

personal pleasure.

       24.   NASSAR also engaged in long conversations with Plaintiff’s parents while they were

in the room, manipulating and seeking to draw their attention away from his procedures. NASSAR

would face Plaintiff face-down and away from her parents to block and impede visual signals from

Plaintiff and from the procedure. Simultaneously, while Plaintiff was facing away from parent,

NASSAR would also stand in-between parent and Plaintiff in order to not disclose procedures and

block parent’s view.

       25.   NASSAR was often late to appointment with Plaintiff. Upon entrance, NASSAR

was rushed, would talk quickly, and create an environment of needing to rush Plaintiff into the

procedures. Often times NASSAR would not fully complete his treatment notes on his computer,

ending sessions abruptly to exit the room to supposedly move to another patient. NASSAR

intentionally created an environment that would deflect his true intentions by rushing into the

procedures, then out of appointments as soon as his procedures were completed.

       26.   Plaintiff did not report NASSAR’s inappropriate touchings since he intentionally

created an environment of abuse and control. Also, Plaintiff was a minor and was not able to

comprehend or appreciate the nature of the abuse or even that she was being abused, even though

NASSAR was causing her pain. It was also reasonable for Plaintiff to trust her doctor, specifically

when NASSAR was recognized as an international expert, was highly regarded in his profession,




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was recommended by his peers, was invited into TWISTARS, was a part of USAG, and dealt with

high-profile international athletes, including on the US Olympic Women’s Gymnastics team.

       27.    NASSAR referred Plaintiff to several other physicians that had full access to

Plaintiff’s medical records and knew NASSAR both professionally and personally. In or around

2010 NASSAR referred Plaintiff to Dr. Michael Shingles and later that year referred Plaintiff to

Dr. Ira Zaltz. Both doctors sent Plaintiff back to NASSAR who perpetuated his assaults and abuse.

       28.    Plaintiff ultimately moved from Michigan and NASSAR’s visits ceased, although he

initiated several communications with Plaintiff for a time after the move. In the years thereafter,

Plaintiff experienced severe depression, suicidal ideation, cutting, eating disorders, body image

confusion, spiritual confusion, a distaste of normal or healthy sexual thoughts or appetite, and only

seeking a male spouse that would not desire sex but rather have children by adoption or other

methods.

       29.    Plaintiff has been harmed and injured by NASSAR’s inappropriate procedures,

including, but not limited to, suffer pain of mind and body, mental anguish, shock, emotional

distress, anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss

of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from

obtaining the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and

continues to sustain loss of earnings and loss of earning capacity.



                                 JURISDICTION AND VENUE

       30.    Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.




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        31.   This action is brought pursuant to Title IX of the Educational Amendments of 1972,

20 U.S.C. § 1681, et seq., as more fully set forth herein.

        32.   This is also an action to secure relief for violations of rights guaranteed by the Patient

Protection and Affordable Care Act § 1557, 42 U.S.C. § 18116 (2012) (“Section 1557”).

        33.   Section 1557 of the Affordable Care Act prohibits discrimination in health care

programs or activities, “any part of which is receiving Federal financial assistance, including

credits, subsidies, or contracts of insurance, or under any program or activity that is administered

by an Executive Agency” or any entity established under Title I of the Affordable Care Act or its

amendments.

        34.   This Court has original jurisdiction over Plaintiff’s claims arising under Section

1557.

        35.   This is also an action to redress the deprivation of Plaintiff’s constitutional rights

under the Fourteenth Amendment of the United States Constitution pursuant to 42 U.S.C. §1983.

        36.   Subject matter jurisdiction is founded upon 28 U.S.C. § 1331, which gives district

courts jurisdiction over all civil actions arising under the Constitution, laws, and treaties of the

United States.

        37.   Subject matter jurisdiction is also founded upon 28 U.S.C. § 1332 as it relates to

Plaintiff's claims against USAG for the reason that 28 U.S.C. § 1332 grants subject matter

jurisdiction over civil actions involving citizens of different states where the amount in controversy

exceeds the sum or value of $75,000.00, exclusive of interest and costs.

        38.   Subject matter jurisdiction is also founded upon 28 U.S.C. § 1343, which gives

district courts original jurisdiction over any civil actions authorized by law to be brought by any

person to redress the deprivation, under color of any state law, statute, ordinance, regulation,




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custom or usage, of any right, privilege or immunity secured by the Constitution of the United

States or by any Act of Congress providing for equal rights of citizens or of all persons within the

jurisdiction of the United States, and any civil action to recover damages or to secure equitable

relief under any Act of Congress providing for the protection of civil rights.

       39.    Plaintiff further invokes the supplemental jurisdiction of this Court, pursuant to 28

U.S.C. § 1367(a), to hear and decide claims arising under state law that are so related to the claims

within the original jurisdiction of this Court that they form part of the same case or controversy.

       40.    The claims are cognizable under the United States Constitution, 42 U.S.C. § 1983,

20 U.S.C. § 1681 et seq., and under Michigan law.

       41.    The majority of events giving rise to this lawsuit occurred in Ingham County,

Michigan, which located in the Southern Division of the Western District of Michigan.

       42.    Because MSU is a public university organized and existing under the laws of the

State of Michigan, Michigan statutory law requires parties to file a Notice of Intention to File

Claim in order to maintain any action against the state, in satisfaction of M.C.L. § 600.6431.

Plaintiff filed a Notice of Intention to File Claim with the Michigan Court of Claims on August 3,

2018. See Exhibit 1.



                         PARTIES AND FACTUAL ALLEGATIONS

       43.    Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.




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          44.    Plaintiff’s name has been withheld from this Complaint since she was a minor and

resided in Michigan at all relevant times that she was had appointments with NASSAR or was

associated with any Defendants.1

          45.    Plaintiff was a minor when each occurrence of sexual molestation, abuse, assault,

touching, procedures, and treatment took place.

          46.    As to Defendant Dr. Lawrence “Larry” Nassar, upon information and belief:

                a. NASSAR, was a Doctor of Osteopathic Medicine and was a resident of Michigan

                   at all relevant times.

                b. NASSAR graduated from Michigan State University with a Doctor of Osteopathic

                   Medicine degree in or around 1993.

                c. NASSAR was employed by MSU from approximately 1996 to 2016 in various

                   positions including but not limited to:

                       i. Assistant and/or Associate Professor, MSU’s Division of Sports Medicine,

                           Department of Radiology, College of Osteopathic Medicine;

                       ii. Team Physician for MSU’s Men’s and Women’s Gymnastics Team;

                      iii. Team Physician for MSU’s Men’s and Women’s Track and Field Teams;

                      iv. Team Physician for MSU’s Men’s and Women’s Crew Team;

                       v. Team Physician for MSU’s Intercollegiate Athletics;

                      vi. Medical Consultant for MSU’s Wharton Center for the Performing Arts;

                           and

                     vii. Advisor for Student Osteopathic Association of Sports Medicine.




1
     Plaintiff will seek a Court Order regarding disclosure of Plaintiff’s identity and all conditions
    for disclosure.


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       d. NASSAR was employed by, or an agent of USAG from approximately 1986 to

          2015, serving in various positions including but not limited to:

              i. Certified Athletic Trainer;

              ii. Osteopathic Physician;

             iii. National Medical Director;

             iv. National Team Physician, USA Gymnastics; and

              v. National Team Physician, USA Gymnastics Women’s Artistic Gymnastics

                  National Team.

       e. As a physician of osteopathic medicine, NASSAR's medical care and treatment

          should have consisted largely of osteopathic adjustments and kinesiology treatment

          to patients, including students, student athletes of MSU, and private patients that

          sought treatment from NASSAR.

       f. NASSAR is not and has never been a medical doctor of obstetrics or gynecology.

       g. While employed by MSU and USAG, NASSAR sexually assaulted, abused, and

          molested numerous female patients by engaging in nonconsensual sexual assault,

          battery, molestation, and harassment, including, but not limited to, digital vaginal

          and anal penetration without the use of gloves or lubricant.

       h. The use of gloves when exposed to potentially infectious material, including

          vaginal secretion, is mandated by the State of Michigan's Department of

          Licensing and Regulatory Affairs Occupational Health Standards regarding

          Bloodborne Infectious Diseases.2



2
 See Michigan Administrative Code R. 325.70001 et seq., DEP'T OF LICENSING &
REGULATORY AFFAIRS, available at:




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          i. NASSAR used his position of trust and confidence in an abusive manner to

             sexually assault, batter, molest, and harass female patients, including Plaintiff,

             over the course of his career for his own sexual self-gratification.

          j. In late November 2016, NASSAR was arrested and charged in Ingham County,

             Michigan on three charges of first-degree criminal sexual conduct with a person

             under 13, which is a felony punishable with a maximum penalty of imprisonment

             for life without the possibility of parole.3

          k. On February 22, 2017, NASSAR was arraigned on 22 counts of first-degree

             criminal sexual conduct with a person under 13 years old, and 14 counts of third-

             degree criminal sexual conduct with a person under the age of 13 years old in

             Ingham County, Michigan4 and Eaton County, Michigan.5

          l. On July 10, 2017, NASSAR plead guilty to the federal charges of possession of

             child pornography, receipt/attempted receipt of child pornography, and destruction

             and concealment of records and tangible objects.

          m. On November 22, 2017, NASSAR plead guilty to 7 counts of first-degree criminal

             sexual conduct in Ingham County.

          n. During his Ingham County plea, NASSAR admitted that his sexual assaults were

             not done for a medical purpose.

          o. On November 29, 2017, NASSAR pleaded guilty to 3 counts of first degree

             criminal sexual conduct in Eaton County.


http:/jwww.michigan.gov/documents/CIS_WSH_part554_35632_7.pdf
(last visited Mar. 20, 2017).
3
  People v. Nassar, State of Michigan, Ingham County Circuit Court Case No. 17-143-FC.
4
    People v. Nassar, Ingham County District Court Case No. 17-00425-FY.
5
    People v. Nassar, Eaton County District Court Case No. 17-0318-FY.


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             p. On December 7, 2017, NASSAR was sentenced to a 720-months (60 years) prison

                term for the federal child pornography charges.

             q. From, January 16, 2018, to January 24, 2018, a sentencing hearing was held in

                Ingham County for the 7 counts of first-degree criminal sexual conduct to which

                NASSAR pleaded guilty.

             r. From January 31, 2018, to February 5, 2018, a sentencing hearing was held in Eaton

                County for the 3 counts of first degree criminal sexual conduct to which NASSAR

                pleaded guilty.

             s. Dozens of Plaintiffs and many others provided victim impact statements at the

                Ingham County Sentencing and some of the Plaintiffs who were seeking to proceed

                anonymously in this litigation chose to publicly identify themselves at the

                sentencing hearing.

             t. On January 24, 2018, NASSAR was sentenced to a 40 to 175-year prison terms for

                the Ingham County charges.

             u. On February 5, 2018, NASSAR was sentenced to a 40 to 125-year prison term for

                the Eaton County charges.

             v. NASSAR is currently an inmate in the custody of the Federal Bureau of Prisons at

                Coleman USP-2 in Sumterville, FL.

       47.    As to MSU Trustees, on information and belief, it is the governing body of Michigan

State University, MSU. Brian Breslin is the current Chairman.

       48.    As to MSU, on information and belief, it all times during the allegations:

             a. Was, and continues to be, a public university organized and existing under the laws

                of the State of Michigan. MSU also receives federal financial assistance and is




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                therefore subject to Title IX of the Educational Amendments of 1972, 20 U.S.C.

                §1681(a).

             b. Knew of many allegations that began in 1997 concerning NASSAR and continued

                during his tenure as an employee, representative, and/or agent.

             c. Did not take corrective actions concerning allegations.

             d. Did not discipline, suspend, or fire NASSAR but found he was reputable and

                allowed him to continue the practice of medicine and, through that venue, abuse.

       49.    As to KOVAN, on information and belief, he is or was the Director of Division of

Sports Medicine at MSU and CLINIC, and had direct supervisory duties over NASSAR. At all

relevant times KOVAN maintained an office at CLINIC and was acting under color of law,

statutes, ordinances, regulations, policies, customs, and usages of the State of Michigan and/or

MSU.

       50.    As to DIETZEL, on information and belief, he is or was the Clinical Director of MSU

Sports Medicine and CLINIC, and at all relevant times was serving in that capacity, and has also

served as Team Orthopedic Surgeon for MSU Department of Intercollegiate Athletics. DIETZEL

maintained an office at MSU, was acting under color of law, statutes, ordinances, regulations,

policies, customs, and usages of the State of Michigan and/or MSU, and had direct supervisory

duties over NASSAR.

       51.    As to STRAMPEL, on information and belief, he was at all relevant times the Dean

of the College of Osteopathic Medicine at MSU. STRAMPEL maintained an office at MSU, was

acting under color of law, statutes, ordinances, regulations, policies, customs, and usages of the

State of Michigan and/or MSU, and had direct supervisory duties over NASSAR.




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       52.   As to STOLLAK, on information and belief, he was a MSU clinical psychologist and

Professor of Psychology. At all relevant times STOLLAK maintained an office at MSU and was

acting under color of law, statutes, ordinances, regulations, policies, customs, and usages of the

State of Michigan and/or MSU.

       53.   As to SHINGLES, on information and belief, he was a MSU Team Orthopedic

Surgeon at CLINIC. At all relevant times SHINGLES maintained an office at MSU and was acting

under color of law, statutes, ordinances, regulations, policies, customs, and usages of the State of

Michigan and/or MSU. SHINGLES conferred with NASSAR, reviewed NASSAR’s files on

Plaintiff, and neglected to report NASSAR’s abuse as required.

       54.   As to ZALTZ, on information and belief, he was and is a board certified Orthopaedic

surgeon who specializes in children’s orthopaedic conditions, employed at all relevant times by

Oakland Orthopaedic Surgeons in Royal Oaks, Michigan. ZALTZ conferred with NASSAR,

reviewed NASSAR’s files on Plaintiff, and neglected to report NASSAR’s abuse as required.

       55.   USAG, on information and belief, was and continues to be an organization

incorporated in Indiana, authorized to conduct business and conducting business throughout the

United States, including but not limited to Michigan.

       56.   TWISTARS, on information and belief, was and continues to be an organization

incorporated under the laws of Michigan. At all relevant times, John Geddert was the owner and

president of TWISTARS. TWISTARS invited NASSAR into their club and encouraged gymnasts

to see NASSAR for their injuries. The gymnasts were invitees to, and had contracts for services

with, TWISTARS.       NASSAR was under the supervision of TWISTARS when he was an

employee, representative, and/or agent to their premises and club.


                                                COUNT I



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                                    VIOLATIONS OF TITLE IX
                                     20 U.S.C. §1681(a), et seq.
                           PLAINTIFF AGAINST MSU AND MSU TRUSTEES


          57.   Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

          58.   Title IX’s statutory language states, “No person in the United States shall on the basis

of sex, be … subject to discrimination under any education program or activity receiving Federal

financial assistance …” 6

          59.   "Title IX also protects third parties from sexual harassment or violence in a school's

education programs and activities." 7

          60.   Under Title IX, sexual harassment is any type of unwelcome conduct of a sexual

nature. "It includes unwelcome sexual advances, requests for sexual favors, and other verbal,

nonverbal, or physical conduct of a sexual nature." 8

          61.   Plaintiff is a "person" within the meaning of 20 U.S. C. §1681(a).

          62.   MSU receives financial assistance for its education program and is therefore subject

to the provisions of Title IX of the Education Act of 1972, 20 U.S. C. § 1681, et seq.

          63.   MSU is required under Title IX to investigate allegations of sexual assault, sexual

abuse, and sexual harassment.




6
  20 U.S.C. §1681(a), et seq. See generally, U.S. Dept. of Ed., Office of Civil Rights, Dear
Colleague Letter: Sexual Violence, April 4, 2011, n. 11 (“Title IX also protects third parties
from sexual harassment or violence in a school’s education programs and activities.”).
Available at https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.pdf. Last
accessed September 2, 2018.
7
    ld. At 4.
8
    ld. At 3.


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       64.   The U.S. Department of Education’s Office of Civil Rights has explained that Title

IX covers all programs of a school, and extends to sexual harassment and assault by employees,

students, and third parties.

       65.   NASSAR’s actions and conduct were carried out under one of MSU’s programs,

which provides medical treatment to students, athletes, and the public.

       66.   NASSAR’s conduct and actions toward Plaintiff, that being nonconsensual touching

of Plaintiff’s vaginal and anal areas, and unwelcome sexual or otherwise inappropriate touching

of Plaintiff’s body, constitutes sex discrimination under Title IX.

       67.   NASSAR's sexual assault, battery, molestation, and harassment of Plaintiff

constituted sexual discrimination and harassment under Title IX.

       68.   Pursuant to Title IX, MSU is obligated and required to investigate all allegations of

sexual assault, battery, molestation, and harassment, including allegations that sexual assault,

battery, molestation, and harassment has been committed by an employee, student, or third party.

       69.   MSU owed Plaintiff duties under Title IX, which duties included not to engage in

and be deliberately indifferent to known sexual assault, battery, molestation, harassment, and other

sexual misconduct.

       70.   Upon information and belief, an "appropriate person" at MSU, within the meaning of

Title IX, and including but not limited to trainers, coaches, and Kathie Klages, had actual and

constructive notice of sexual assault, battery, molestation, and harassment committed by NASSAR

as early as 1997, and includes multiple reports and allegations that MSU knew or should have

known and did not appropriately take action to correct.




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       71.    Examples of MSU’s knowledge of NASSAR’s abuse, based upon information and

belief, are numerous. Some examples that MSU was directly informed abuse was taking place

are:

             a. Coach Klages by plaintiffs Larissa Boyce and Jane B8 Doe in or around 1997/1998;

             b. Kelli Bert by plaintiff Christie Achenbach in or around 1999;

             c. Destiny Teachnor-Hauk by Tiffany Thomas Lopez in 2000 on more than one

                occasion;

             d. Lianna Hadden by plaintiff Jennifer Rood Bedford between approximately 2000

                and 2002;

             e. STOLLAK in 2004 by plaintiff Kyle Stephens; and,

             f. KOVAN in or around 2014 by plaintiff Jane D1 Doe (collectively, “MSU

                ALLEGATIONS”).

       72.    MSU, by its nonaction of previously reported allegations, violated the reporting

policies and procedures and Title IX and was done in a manner that was reckless, grossly negligent,

and deliberately indifferent.

       73.    MSU Defendants failed to carry out their duties to investigate and take corrective

action under Title IX.

       74.    MSU acted with indifference and in a clearly unreasonable manner by failing to

respond to the allegations of sexual assault, abuse, and molestation in light of the known

circumstances, NASSAR's conduct toward female athletes, and his access to young girls and young

women.




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       75.   The MSU’s deliberate indifference is further confirmed by the Department of

Education's 2014 investigation into MSU's handling of sexual assault and relationship violence

allegations, which revealed:

       76.   That the MSU’s failure to adequately respond to allegations of sexual assault created

a sexually hostile environment and affected numerous students and staff on MSU's campus, which

includes the CLINIC;

       77.   That the MSU’s failure to address complaints of sexual violence in a prompt and

equitable manner caused and may have contributed . . . to a continuation of the sexually hostile

environment. 9

       78.   The MSU’s responses were clearly unreasonable as NASSAR continued to sexually

assault female athletes and other individuals until he was discharged from the University in 2016.

       79.   MSU had actual and constructive knowledge of, but were recklessly and deliberately

indifferent to, NASSAR's sexual assault, battery, molestation, and harassment in between 1997

and/or 1998 and 2016.

       80.   MSU's failure to properly and appropriately investigate and take corrective action for

the 1997 and later complaints of NASSAR's sexual assault, battery, molestation, and harassment

resulted in Plaintiff being subject to further sexual assault, battery, molestation, harassment, and a

sexually hostile environment, and created an increased environment of danger to Plaintiff,

effectively denying her access to medical care.




9
 Letter from U.S. Department of Education, Office for Civil Rights to Michigan State
University, OCR Docket #15-11-2098, #15-14-2113 (Sept. 1, 2015), https:/
fwww2.ed.gov/documents/press-releases/michigan-state-letter.pdf. 25



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       81.    MSU's responses to the complaints in 1997 and later were clearly unreasonable as

NASSAR continued to sexually assault young females, including Plaintiff, until he was discharged

from the University in 2016.

       82.    MSU failed to offer counseling services to current or former patients of NASSAR,

including Plaintiff.

       83.    MSU failed to notify Plaintiff of potential sexual misconduct and harassment as

outlined in its own policies.

       84.    As a direct and proximate result of the MSU Defendants' actions and inactions,

Plaintiff has suffered and continues to suffer pain of mind and body, mental anguish, shock,

emotional distress, anxiety, sleep issues, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been

prevented from obtaining the full enjoyment of sexual life, spiritual conflict and confusion, and

has sustained and continues to sustain loss of earnings and loss of earning capacity.

                                  COUNT II
                   VIOLATION OF CIVIL RIGHTS 42 U.S.C. § 1983
              PLAINTIFF AGAINST MSU, MSU BOARD OF TRUSTEES, NASSAR,
                     STRAMPEL, KOVAN, DIETZEL, AND STOLLAK


       85.    Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       86.    MSU, MSU BOARD OF TRUSTEES, STRAMPEL, KOVAN, DIETZEL, and

STOLLAK shall be referred to collectively as MSU Defendants in addition to any individual

reference.

       87.    Plaintiff, as a female, is a member of a protected class under the Equal Protection

Clause of the Fourteenth Amendment to the United States.




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         88.   Plaintiff enjoys the constitutionally protected Due Process right to be free from the

invasion of bodily integrity through sexual assault, battery, molestation, and harassment.

         89.   At all relevant times, the MSU Defendants were acting under color of law, to wit,

under color of statutes, ordinances, regulations, policies, customs, and usages of the State of

Michigan and/or MSU.

         90.   The acts as alleged above amount to a violation of these clearly established

constitutionally protected rights, of which reasonable persons in the MSU’s position should have

known.

         91.   The MSU Defendants have the ultimate responsibility and authority to train and

supervise their employees, agents, and representatives, in the appropriate manner of detecting,

reporting, and preventing sexual abuse, assault, and molestation and as a matter of acts, custom,

policy, and/or practice failed to do so with deliberate indifference.

         92.   As a matter of custom, policy, and/or practice, the MSU Defendants have the ultimate

responsibility and authority to investigate complaints against their employees, agents, and

representatives from all individuals including, but not limited to, students, visitors, faculty, staff,

or other employees, agents, and representatives, and failed to do so with deliberate indifference.

         93.   The MSU Defendants had a duty to prevent sexual assault, abuse, and molestation on

their campus and premises, that duty arising under the above-referenced constitutional rights, as

well as established rights pursuant to Title IX.

         94.   MSU's internal policies provide that "[a]ll University employees . . . are expected to

promptly report sexual misconduct or relationship violence that they observe or learn about and

that involves a member of the University community (faculty, staff or student) or occurred at a

University event or on University property." They further provide that "[t]he employee must report




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all relevant details about the alleged relationship violence or sexual misconduct that occurred on

campus or at a campus-sponsored event." 10

           95.   This policy was violated in or around 1997 and with other later sexual allegations and

complaints as previously address in this Complaint. See MSU ALLEGATIONS in this Complaint.

           96.   MSU Defendants have the ultimate responsibility and authority to investigate

complaints against their employees, agents, and representatives from all individuals including, but

not limited to students, patients, visitors, faculty, staff, or other employees, agents, and/or

representatives, and failed to do so with deliberate indifference.

           97.   These policies and responsibilities were continuously violated and disregarded by

MSU Defendants throughout the investigations, allegations, and complaints of MSU

ALLEGATIONS, continuously allowing a “sexually hostile environment to exist.”11

           98.   MSU Defendants are also liable to Plaintiff under 42 U.S.C. § 1983 for maintaining

customs, policies, practices which deprived Plaintiff of rights secured by the Fourteenth

Amendment to the United States Constitution in violation of 42 U.S.C. § 1983.

           99.   MSU Defendants tolerated, authorized and/or permitted a custom, policy, practice or

procedure of insufficient supervision and failed to adequately screen, counsel, or discipline

NASSAR, with the result that NASSAR continued to violate the rights of persons such as Plaintiff

with impunity.

           100. MSU Defendants failed to warn or advise current and former patients of NASSAR,

including Plaintiff, that allegations could surface that, in fact, the treatment that the patients

received was not medical treatment at all, but was sexual assault. This violated MSU’s policies


10
 Michigan State University, University Policy on Relationship Violence & Sexual Misconduct,
MSU STUDENT RES., at 19-20.
11
     See Complaint, line 77.




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and handbook and MSU Defendant’s inaction subjected Plaintiff to NASSAR’s continuous sexual

abuse.

         101. As a direct and proximate result of the MSU Defendants' actions and inactions,

Plaintiff has suffered and continues to suffer pain of mind and body, mental anguish, shock,

emotional distress, anxiety, sleep issues, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been

prevented from obtaining the full enjoyment of sexual life, spiritual conflict and confusion, and

has sustained and continues to sustain loss of earnings and loss of earning capacity.

                                    COUNT III
                      FAILURE TO TRAIN AND SUPERVISE 42 U.S.C. § 1983
                          PLAINTIFF AGAINST MSU DEFENDANTS


         102. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

         103. MSU Defendants have the ultimate responsibility and authority to train and supervise

its employees, agents, and/or representatives, including NASSAR and all faculty and staff,

regarding their duties toward students, faculty, staff, and visitors.

         104. MSU Defendants failed to train and supervise its employees, agents, and/or

representatives, including all faculty and staff, regarding the following duties, although not

exhaustive:

            a. Perceive, report, and stop inappropriate sexual conduct on campus;

            b. Provide diligent supervision over student-athletes and other individuals;

            c. Report suspected incidents of sexual abuse or sexual assault;

            d. Ensure the safety of all students, faculty, staff, and visitors to MSU’s campuses

                premises;



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             e. Provide a safe environment for all students, faculty, staff, and visitors to MSU’s

                premises free from sexual harassment; and,

             f. Properly train faculty and staff to be aware of their individual responsibility for

                creating and maintaining a safe environment.

        105. The MSU Defendants and their employees, agents, and/or representatives had a duty

to report suspected sexual abuse.

        106. The MSU Defendants and their employees, agents, and/or representatives failed to

report sexual abuse about which they knew or should have known.

        107. The MSU Defendants failed to adequately train coaches, trainers, medical staff, and

others regarding the above duties which led to violations of Plaintiff's rights.

        108. MSU Defendants’ failure to adequately supervise or investigate NASSAR, especially

after MSU Defendants knew, or should have known, of complaints regarding his nonconsensual

sexual touching and assaults during “treatments” through the MSU ALLEGATIONS, was so

reckless as to demonstrate a substantial lack of concern for whether an injury would result to

Plaintiff.

        109. At no time during or following the MSU ALLEGATIONS’ investigation did MSU

Defendants take any steps to ensure NASSAR was in compliance with guidelines, which was so

reckless as to demonstrate a substantial lack of concern for whether an injury would result to young

athletes.

        110. As a result, the MSU Defendants deprived Plaintiff of rights secured by the

Fourteenth Amendment to the United States Constitution in violation of 42 U.S. C. §1983.

        111. As a direct and proximate result of the MSU Defendants' actions and inactions,

Plaintiff has suffered and continues to suffer pain of mind and body, mental anguish, shock,




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emotional distress, anxiety, sleep issues, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been

prevented from obtaining the full enjoyment of sexual life, spiritual conflict and confusion, and

has sustained and continues to sustain loss of earnings and loss of earning capacity.

                            COUNT IV
                        GROSS NEGLIGENCE
  PLAINTIFF AGAINST MSU DEFENDANTS, NASSAR, SHINGLES, AND ZALTZ


       112. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       113. MSU Defendants owed Plaintiff a duty of ordinary care to ensure her safety and

freedom from sexual assault, abuse, and molestation while interacting with their employees,

representatives, and/or agents, including NASSAR.

       114. NASSAR and SHINGLES, as employees, agents, and/or representatives of the MSU

Defendants, and ZALTZ, individually, owed Plaintiff a duty to use ordinary care in providing

medical treatment.

       115. NASSAR, MSU Defendants, SHINGLES, and ZALTZ owed Plaintiff a duty to use

due care as a special, confidential, and fiduciary relationship was created between Plaintiff and

NASSAR, between Plaintiff and SHINGLES, and between Plaintiff and ZALTZ, when Plaintiff

sought medical treatment from NASSAR, in the course of his employment, agency, and/or

representation of the MSU Defendants, and from SHINGLES and ZALTZ, individually.

       116. SHINGLES, ZALTZ, and MSU Defendants, and their employees, agents, and/or

representatives, had a duty to report suspected sexual abuse.

       117. SHINGLES, ZALTZ, and MSU Defendants, and their employees, agents, and/or

representatives, failed to report sexual abuse about which they knew or should have known.



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        118. The MSU Defendants' failure to adequately supervise NASSAR, especially after the

MSU Defendants knew or should have known of complaints regarding NASSAR's conduct, was

so reckless as to demonstrate a substantial lack of concern for whether an injury resulted to

Plaintiff.

        119. NASSAR's conduct in sexually assaulting, abusing, and molesting Plaintiff in the

course of his employment, agency, and/or representation of the MSU Defendants under the guise

of proper medical treatment was so reckless as to demonstrate a substantial lack of concern for

whether an injury resulted to Plaintiff.

        120. NASSAR's conduct in sexually assaulting, abusing, and molesting Plaintiff in the

course of his employment, agency, and/or representation of the MSU Defendants and under the

guise of rendering "medical treatment" was so reckless as to demonstrate a substantial lack of

concern for whether an injury would result to Plaintiff.

        121. MSU Defendants' conduct and the conduct of their individual employees and agents

demonstrated a willful disregard for precautions to ensure Plaintiff's safety.

        122. MSU Defendants knew, or should have known, of complaints pertaining to

NASSAR's nonconsensual sexual touching and assaults that occurred under the guise of medical

treatment.

        123. SHINGLES knew or should have known of NASSAR's nonconsensual sexual

touching and assaults by his full review of Plaintiff’s medical records after being referred by

NASSAR, and because SHINGLES worked intimately with NASSAR in the same office, had a

personal and professional relationship with NASSAR, and knew or should have known MSU

ALLEGATIONS against NASSAR.




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       124. ZALTZ knew or should have known of NASSAR's nonconsensual sexual touching

and assaults by his full review of Plaintiff’s medical records after being referred by NASSAR, was

intimately knowledgeable of MSU, CLINIC, and NASSAR, and knew or should have known MSU

ALLEGATIONS against NASSAR. ZALTZ should have done a full investigation of Plaintiff’s

records and inquired into what “manual manipulations” were being performed on Plaintiff,

thereby, discovering the abuse.

       125. MSU Defendants' conduct demonstrated a willful disregard by not implementing

precautions to ensure Plaintiff's safety which caused a substantial risk to Plaintiff, and lead to

ultimate harm to Plaintiff.

       126. SHINGLES, ZALTZ, and MSU Defendants breached duties owed to Plaintiff and

were grossly negligent when they conducted themselves in the manner described above. These

acts, and omissions of required acts, by SHINGLES, ZALTZ, and MSU Defendants were

committed with reckless disregard to Plaintiff’s safety, health, constitutional and/or statutory

rights, and with substantial lack of concern to whether an injury resulted to Plaintiff.

       127. SHINGLES and MSU Defendants failed to warn or advise current and former

patients of NASSAR, including Plaintiff, that allegations could surface that, in fact, the treatment

that the patients received was not medical treatment at all but was potentially sexual assault.

       128. MSU Defendants failed to offer counseling services to current or former patients of

NASSAR, including Plaintiff.

       129. As a direct and proximate result of the SHINGLES’, ZALTZ’s, and MSU

Defendants' actions and inactions, Plaintiff has suffered and continues to suffer pain of mind and

body, mental anguish, shock, emotional distress, anxiety, sleep issues, physical manifestations of

emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation,




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enjoyment of life, has been prevented from obtaining the full enjoyment of sexual life, spiritual

conflict and confusion, and has sustained and continues to sustain loss of earnings and loss of

earning capacity.

                             COUNT V
                           NEGLIGENCE
  PLAINTIFF AGAINST MSU DEFENDANTS, SHINGLES, ZALTZ, AND NASSAR


       130. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       131. MSU Defendants owed Plaintiff a duty to use ordinary and expected care to ensure

her safety and freedom from sexual assault, abuse, and molestation while interacting with their

employees, representatives, and/or agents, including SHINGLES and NASSAR.

       132. SHINGLES, ZALTZ, NASSAR, and MSU Defendants owed Plaintiff a duty to use

ordinary care as a special, confidential, and fiduciary relationship was created between Plaintiff

and NASSAR when Plaintiff sought medical treatment from SHINGLES, ZALTZ, and NASSAR.

       133. SHINGLES, ZALTZ, NASSAR, and MSU Defendants owed Plaintiff a duty to use

ordinary care in their undertakings.

       134. SHINGLES, ZALTZ, and MSU Defendants, and their employees, agents, and/or

representatives had a duty to report suspected sexual abuse.

       135. SHINGLES, ZALTZ, and MSU Defendants and their employees, agents, and/or

representatives, failed to report sexual abuse about which they knew or should have known when

having full access to Plaintiff’s medical records and working intimately and regularly with

NASSAR.

       136. MSU Defendants' failure to adequately train and supervise NASSAR breached the

duty of ordinary care.



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           137. SHINGLES and MSU Defendants had notice of complaints of a sexual nature related

to NASSAR's purported treatment with young girls and women through MSU’s employees, agents,

and/or representatives through the MSU ALLEGATIONS.

           138. SHINGLES and MSU Defendants knew or should have known of the foreseeability

of sexual abuse with respect to youth and collegiate sports athletes.

           139. MSU Defendants' failure to properly address, investigate, and remedy complaints

against NASSAR's conduct was a breach of the duty to use ordinary care.

           140. NASSAR's conduct in sexually assaulting, battering, molesting, and harassing

Plaintiff in the course of his employment, agency, and/or representation of MSU Defendants under

the guise of medical treatment was a breach of the duty to use ordinary care.

           141. MSU Defendants and SHINGLES failed to warn or advise current and former

patients of NASSAR, including Plaintiff, that allegations did, have, and could surface that, in fact,

the treatment that the patients received was not medical treatment but was potentially sexual

assault.

           142. MSU Defendants controlled all medical records and NASSAR’s records of victims

and MSU Defendants did nothing to inform victims, including Plaintiff, of their potential rights of

being a victim of sexual abuse.

           143. The MSU Defendants failed to offer counseling services to current or former patients

of NASSAR, including Plaintiff.

           144. As a direct and proximate result of SHINGLES’, ZALTZ’s, and MSU Defendants'

actions and inactions, Plaintiff has suffered and continues to suffer pain of mind and body, mental

anguish, shock, emotional distress, anxiety, sleep issues, physical manifestations of emotional

distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life,




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has been prevented from obtaining the full enjoyment of sexual life, spiritual conflict and

confusion, and has sustained and continues to sustain loss of earnings and loss of earning capacity.

                                 COUNT VI
                           VICARIOUS LIABILITY
         PLAINTIFF AGAINST MSU, MSU BOARD OF TRUSTEES, AND CLINIC


         145. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

         146. Vicarious liability is indirect responsibility imposed by operation of law where an

employer is bound to keep its employees within their proper bounds and is responsible if it fails to

do so.

         147. Vicarious liability creates agency between the principal and its agent so that the

principal is held to have done what the agent has done.

         148. MSU, MSU TRUSTEES, and CLINIC employed and/or held NASSAR out to be its

agent and/or representative from approximately 1996 to 2016.

         149. MSU's website, during NASSAR’s tenure of employment, agency, and/or

representation of MSU, contained hundreds of web pages portraying NASSAR as a distinguished

member of MSU’s College of Osteopathic Medicine, Division of Sports Medicine.

         150. MSU, MSU TRUSTEES, and CLINIC are vicariously liable for the actions of

NASSAR, as described above, that were performed during the course of his employment, agency,

and/or representation with MSU and CLINIC and while he had unfettered access to young female

athletes on MSU’s campus and premises through its College of Osteopathic Medicine and Division

of Sports Medicine, and at all times NASSAR was acting as an employee and/or agent for MSU

and CLINIC who possessed and exercised control over NASSAR.




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       151. MSU, MSU TRUSTEES, and CLINIC failed to prevent their employee and/or agent,

NASSAR, from continuing to perpetuate his sexual deviancy and abuse of female patients,

including against Plaintiff.

       152. MSU, MSU TRUSTEES, and CLINIC had actual and/or constructive knowledge of

NASSAR's propensity for sexually assaulting, battering, molesting, and harassing his patients and

other females under the guise of medical treatment and/or during the course of his employment,

agency, and/or representation with MSU, MSU TRUSTEES, and CLINIC and took no action to

prevent such conduct.

       153. It was reasonably foreseeable that NASSAR would continue to sexually assault,

batter, molest, and harass females (under the guise of medical treatment and/or during the course

of his employment, agency, and/or representation with the MSU Defendants) with the actual and/or

constructive knowledge MSU, MSU TRUSTEES, and CLINIC had of such conduct.

       154. As a direct and proximate result of MSU’s, MSU TRUSTEE’s, and CLINIC’s actions

and inactions, Plaintiff has suffered and continues to suffer pain of mind and body, mental anguish,

shock, emotional distress, anxiety, sleep issues, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been

prevented from obtaining the full enjoyment of sexual life, spiritual conflict and confusion, and

has sustained and continues to sustain loss of earnings and loss of earning capacity.

                                      COUNT VII
                               EXPRESS/IMPLIED AGENCY
                          PLAINTIFF AGAINST MSU DEFENDANTS


       155. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       156. An agent is a person who is authorized by another to act on its behalf.



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       157. MSU Defendants intentionally and/or negligently made representations that

NASSAR was their employee, agent, and/or representative.

       158. On the basis of those representations, Plaintiff reasonably believed that NASSAR

was acting as an employee, agent, and/or representative of the MSU Defendants.

       159. Plaintiff was injured as a result of NASSAR's sexual assault, abuse, and molestation,

as described above. These acts were performed during the course of NASSAR's employment,

agency, and/or representation with the MSU Defendants while he had access to young females.

       160. Plaintiff was injured because she relied on the MSU Defendants to provide

employees, agents, and representatives who exercise reasonable skill and care.

       161. As a direct and proximate result of MSU Defendants' actions and inactions, Plaintiff

has suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional

distress, anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss

of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from

obtaining the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and

continues to sustain loss of earnings and loss of earning capacity.

                                     COUNT VIII
                              NEGLIGENT SUPERVISION
                         PLAINTIFF AGAINST MSU DEFENDANTS


       162. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       163. MSU Defendants had a duty to provide reasonable supervision of their employee,

agent, and/or representative, NASSAR, while he was in the course of his employment, agency,

and/or representation with the MSU Defendants and while he interacted with young females,

including Plaintiff.



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        164. Given the known sexual abuse in youth sports and gymnastics and the MSU

ALLEGATIONS, it was reasonably foreseeable that NASSAR, who had prior allegations against

him, had and/or would sexually abuse young females, including Plaintiff, unless properly

supervised.

        165. MSU Defendants by and through their employees, agents, representatives, managers,

and/or assigns, such as Kathie Klages, President Simon, President McPherson, Dean Strampel,

and/or Dr. Kovan, knew or reasonably should have known of NASSAR's conduct and/or that

NASSAR was an unfit employee, agent, and/or representative because of his sexual interest in

children and his sexual deviancy towards women of all ages.

        166. MSU Defendants breached their duty to provide reasonable supervision of NASSAR,

and permitted NASSAR, who was in a position of trust and authority, to commit acts against

Plaintiff.

        167. The above sexual assault, abuse, and molestation occurred while Plaintiff and

NASSAR were on the premises of MSU and while NASSAR was in the course of his employment,

agency, and/or representation with the MSU Defendants.

        168. MSU Defendants tolerated, authorized, and/or permitted a custom, policy, practice,

or procedure of insufficient supervision and failed to adequately screen, counsel, or discipline such

individuals, resulting in the allowance of NASSAR to violate the rights or persons such as Plaintiff

with impunity.

        169. MSU Defendants failed to warn or advise current and former patients of NASSAR,

including Plaintiff, that allegations could surface that, in fact, the treatment that the patients

received was not medical treatment at all but was potentially sexual assault.




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        170. As a direct and proximate result of MSU Defendants' actions and inactions, Plaintiff

has suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional

distress, anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss

of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from

obtaining the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and

continues to sustain loss of earnings and loss of earning capacity.

                                    COUNT IX
                   NEGLIGENT FAILURE TO WARN AND/OR PROTECT
                  PLAINTIFF AGAINST MSU PLAINTIFF AND SHINGLES


        171. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

        172. MSU Defendants and SHINGLES knew or should have known that NASSAR posed

a risk of harm to Plaintiff and/or others in Plaintiff's situation.

        173. MSU Defendants and SHINGLES knew or should have known that NASSAR

committed sexual assault, abuse, and molestation and/or was continuing to engage in such conduct.

        174. As early as 1997 and/or 1998, and by way of MSU ALLEGATIONS, MSU

Defendants had direct and/or constructive knowledge of NASSAR's dangerous conduct and failed

to respond reasonably and responsibly.

        175. SHINGLES knew or should have known of MSU ALLEGATIONS by working

closely and intimately with NASSAR in CLINIC for numerous years.

        176. MSU Defendants and SHINGLES had a duty to warn or protect Plaintiff and others

in Plaintiff’s situation against the risk of injury by NASSAR.

        177. The special, trusting, confidential, and fiduciary relationship between Plaintiff and

NASSAR and between Plaintiff and SHINGLES, as an employee, agent, and/or representative of



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the MSU Defendants, created a duty for MSU Defendants and SHINGLES to disclose information

regarding NASSAR's sexual conduct.

        178. The MSU Defendants and SHINGLES breached the duty owed to Plaintiff by failing

to warn Plaintiff and/or by failing to take reasonable steps to protect Plaintiff from NASSAR.

        179. The MSU Defendants breached the duties to protect owed to Plaintiff by failing to:

            a. Respond to allegations of sexual assault, abuse, and molestation;

            b. Detect and/or uncover evidence of sexual assault, abuse, and molestation; and

            c. Investigate, adjudicate, and terminate NASSAR's employment with MSU prior to

                2014.

        180. MSU Defendants violated Plaintiff's rights by failing to adequately screen, counsel,

and/or discipline NASSAR for physical and/or mental conditions that might have rendered him

unfit to discharge the duties and responsibilities of a physician at an educational institution,

resulting in a violation of Plaintiff's rights.

        181. SHINGLES violated Plaintiff’s rights by failing to adequately report NASSAR to

MSU Defendants and to Plaintiff knowing NASSAR’s background and propensities due to MSU

ALLEGATIONS.

        182. The MSU Defendants and SHINGLES willfully refused to notify, give adequate

warning, and implement appropriate safeguards to protect Plaintiff from NASSAR's conduct.

        183. As a direct and proximate result of MSU Defendants' actions and inactions, Plaintiff

has suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional

distress, anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss

of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from




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obtaining the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and

continues to sustain loss of earnings and loss of earning capacity.

                                COUNT X
                   NEGLIGENT FAILURE TO REPORT ABUSE
          PLAINTIFF AGAINST STRAMPLE, KOVAN, DIETZEL, STOLLAK,
                          SHINGLES, AND ZALTZ


       184. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       185. STRAMPEL, KOVAN, DIETZEL, STOLLAK, SHINGLES, and ZALTZ

negligently failed to report suspected abuse and neglect under MCL 722.623 which provides, in

pertinent part, as follows:

              (1) An individual is required to report under this act as follows:

                   (a) A physician, dentist, physician’s assistant, registered dental hygienist,
                   medical examiner, nurse, person licensed to provide emergency medical care,
                   audiologist, psychologist, marriage and family therapist, licensed professional
                   counselor, social worker, licensed master’s social worker, licensed bachelor’s
                   social worker, registered social service technician, social service technician, a
                   person employed in a professional capacity in any office of the friend of the
                   court, school administrator, school counselor or teacher, law enforcement
                   officer, member of the clergy, or regulated child care provider who has
                   reasonable cause to suspect child abuse or neglect shall make immediately, by
                   telephone or otherwise, an oral report, or cause an oral report to be made, of the
                   suspected child abuse or neglect to the department.

       186. MCL 722.622 defines child abuse and child neglect as follows:

              (f) “Child abuse” means harm or threatened harm to a child’s health or welfare that
              occurs through nonaccidental physical or mental injury, sexual abuse, sexual
              exploitation, or maltreatment, by a parent, a legal guardian, or any other person
              responsible for the child’s health or welfare or by a teacher, a teacher’s aide, or a
              member of the clergy.
              ***

              (j) “Child neglect” means harm or threatened harm to a child’s health or welfare by
              a parent, legal guardian, or any other person responsible for the child’s health or
              welfare that occurs through either of the following:



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                   (i) Negligent treatment, including the failure to provide adequate food, clothing,
                   shelter, or medical care.

                   (ii) Placing a child at an unreasonable risk to the child’s health or welfare by
                   failure of the parent, legal guardian, or other person responsible for the child’s
                   health or welfare to intervene to eliminate that risk when that person is able to
                   do so and has, or should have, knowledge of the risk.

       187. MCL 722.633 sets forth the liability for failure to report:

              (1) A person who is required by this act to report an instance of suspected child
              abuse or neglect and who fails to do so is civilly liable for the damages proximately
              caused by the failure.

              (2) A person who is required by this act to report an instance of suspected child
              abuse or neglect and who knowingly fails to do so is guilty of a misdemeanor
              punishable by imprisonment for not more than 93 days or a fine of not more than
              $500.00, or both.

       188. NASSAR, SHINGLES, and ZALTZ were non-parent adults who were responsible

for Plaintiff’s health and welfare, had substantial contact with Plaintiff, and was not the Plaintiff’s

parent or a person otherwise related to the child. See MCL 722.622(v)).

       189. STRAMPEL, KOVAN, DIETZEL, STOLLAK, SHINGLES, and ZALTZ owed

Plaintiff a duty to use ordinary and expected care to ensure her safety and freedom from sexual

assault, abuse, and molestation while interacting with their employees, representatives, and/or

agents, including NASSAR.

       190. STRAMPEL, KOVAN, DIETZEL, STOLLAK, SHINGLES, and ZALTZ owed

Plaintiff a duty to use ordinary care as a special, confidential, and fiduciary relationship was

created between Plaintiff and NASSAR when Plaintiff sought medical treatment from

SHINGLES, ZALTZ, and NASSAR.

       191. STRAMPEL, KOVAN, DIETZEL, STOLLAK, SHINGLES, and ZALTZ owed

Plaintiff a duty to use ordinary care in their undertakings.




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        192. STRAMPEL, KOVAN, DIETZEL, STOLLAK, SHINGLES, and ZALTZ, and their

employees, agents, and/or representatives had a mandatory duty to report suspected child abuse.

        193. STRAMPEL, KOVAN, DIETZEL, STOLLAK, SHINGLES, and ZALTZ and their

employees, agents, and/or representatives, failed to report such abuse about which they knew,

should have known, and should have reasonably suspected when having full access to Plaintiff’s

medical records and working intimately and regularly with NASSAR.

        194. STRAMPEL, KOVAN, DIETZEL, STOLLAK, and SHINGLES had notice of

complaints of a sexual nature related to NASSAR's purported treatment with young girls and

women through MSU’s employees, agents, and/or representatives through the MSU

ALLEGATIONS.

        195. STRAMPEL, KOVAN, DIETZEL, STOLLAK, and SHINGLES knew or should

have known of the foreseeability of sexual abuse with respect to youth and collegiate sports

athletes.

        196. NASSAR's conduct in sexually assaulting, battering, molesting, and harassing

Plaintiff in the course of his employment, agency, and/or representation of MSU Defendants under

the guise of medical treatment was a breach of the duty to use ordinary care.

        197. STRAMPEL, KOVAN, DIETZEL, STOLLAK, and SHINGLES were employed by

MSU and CLINIC and failed to warn or advise current and former patients, including Plaintiff, of

NASSAR that allegations did, have, and could surface that, in fact, the treatment that the patients

received was not medical treatment but was potentially sexual assault.

        198. MSU Defendants controlled all medical records and NASSAR’s records of victims

and MSU Defendants did nothing to inform victims, including Plaintiff, of their potential rights of

being a victim of sexual abuse.




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       199. STRAMPEL, KOVAN, DIETZEL, STOLLAK, SHINGLES, and ZALTZ are

directly and civilly liable for the damages proximately caused by their failure to report any instance

of suspected child abuse and/or neglect. MSU, MSU Trustees, and CLINIC are vicariously liable

for such damages and neglect.

       200. As a direct and proximate result of STRAMPEL’s, KOVAN’s, DIETZEL’s,

STOLLAK’s, SHINGLES’, and ZALTZ’s actions and inactions, and MSU Defendants'

vicariously liability, Plaintiff has suffered and continues to suffer pain of mind and body, mental

anguish, shock, emotional distress, anxiety, sleep issues, physical manifestations of emotional

distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life,

has been prevented from obtaining the full enjoyment of sexual life, spiritual conflict and

confusion, and has sustained and continues to sustain loss of earnings and loss of earning capacity.

                                     COUNT XI
                       NEGLIGENT FAILURE TO TRAIN OR EDUCATE
                         PLAINTIFF AGAINST MSU DEFENDANTS


       201. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       202. MSU Defendants had a duty to take reasonable protective measures to protect

Plaintiff and others in Plaintiff's situation against the risk of injury by NASSAR.

       203. MSU Defendants breached the duty owed to Plaintiff to take reasonable protective

measures to protect Plaintiff, and other patients of NASSAR, by failing to properly train or educate

Plaintiff and other individuals in Plaintiff's situation, about how to avoid a risk of sexual assault

and/or sexual abuse by NASSAR.

       204. MSU Defendants failed to implement reasonable safeguards to:

           a. Prevent acts of sexual assault, abuse, and molestation by NASSAR; and



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           b. Avoid placing NASSAR in positions where he would have unsupervised contact

               and interaction with Plaintiff and other children and young women.

       205. As a direct and proximate result of MSU Defendants' actions and inactions, Plaintiff

has suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional

distress, anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss

of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from

obtaining the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and

continues to sustain loss of earnings and loss of earning capacity.

                                     COUNT XII
                               NEGLIGENT RETENTION
                         PLAINTIFF AGAINST MSU DEFENDANTS


       206. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       207. The MSU Defendants owed a duty to Plaintiff and others in Plaintiff's situation when

credentialing, hiring, retaining, screening, checking, regulating, monitoring, and supervising

employees, agents, and/or representative to exercise due care.

       208. MSU Defendants breached the duties owed to Plaintiff by failing to adequately

investigate, report, and address complaints about NASSAR's conduct, which MSU Defendants

knew or should have known.

       209. MSU Defendants breached the duties owed to Plaintiff when the MSU Defendants

retained NASSAR as an employee, agent, and/or representative after the MSU Defendants

discovered or should have reasonably discovered NASSAR's conduct, which reflected a propensity

for sexual misconduct.




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       210. MSU Defendants' failure to act in accordance with the standard of care resulted in

NASSAR gaining access to and sexually assaulting and/or sexually abusing Plaintiff and an

unknown number of other individuals.

       211. The above conduct of MSU Defendants in credentialing, hiring, retaining, screening,

checking, regulating, monitoring, and supervising of NASSAR created a foreseeable risk of harm

to Plaintiff and other minors and young adults.

       212. As a direct and proximate result of MSU Defendants' actions and inactions, Plaintiff

has suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional

distress, anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss

of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from

obtaining the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and

continues to sustain loss of earnings and loss of earning capacity.

                                  COUNT XIII
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                      PLAINTIFF AGAINST MSU DEFENDANTS


       213. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       214. MSU Defendants allowed NASSAR to be in a position where he could sexually

assault, abuse, and molest children and young adults.

       215. A reasonable person would not expect MSU Defendants to tolerate or permit an

employee, agent, and/or representative to carry out sexual assault, abuse, or molestation after MSU

Defendants knew or should have known of complaints and claims of sexual assault and abuse

occurring during NASSAR's "treatments."




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       216. MSU Defendants held NASSAR in high esteem and acclaim, which encouraged

Plaintiff and others to respect and trust NASSAR and seek out his services without questioning his

motives or methods.

       217. MSU Defendants protected NASSAR in part to bolster and sustain his national and

international reputation in the gymnastics community.

       218. A reasonable person would not expect MSU Defendants to be incapable of

supervising NASSAR and/or preventing NASSAR from conducting acts of sexual assault, abuse,

and molestation.

       219. By protecting NASSAR and encouraging the perpetuation of his reputation, the MSU

Defendants acted in a way that was beyond all possible bounds of decency in failing to protect

Plaintiff and other minors and young adults from NASSAR's conduct.

       220. MSU Defendants' conduct as described above was intentional and/or reckless.

       221. MSU Defendants' action and inaction constitutes extreme and outrageous conduct.

       222. As a direct and proximate result of MSU Defendants' actions and inactions, Plaintiff

has suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional

distress, anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss

of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from

obtaining the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and

continues to sustain loss of earnings and loss of earning capacity.

                                     COUNT XIV
                           FRAUD AND MISREPRESENTATION
                         PLAINTIFF AGAINST MSU DEFENDANTS


       223. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.



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       224. From approximately 1996 to September 2016, MSU Defendants represented to

Plaintiff and the public that NASSAR was a competent, safe, and highly regarded physician.

       225. By representing, including on MSU’s website, that NASSAR was a team physician

and athletic physician at MSU, and a National Team Physician with USAG, MSU Defendants

represented to Plaintiff and the public that NASSAR was safe, trustworthy, and of high moral and

ethical repute and that Plaintiff and the public could readily utilize the services of NASSAR

without being harmed.

       226. The above representations regarding NASSAR’s purported character were false when

they were made, because NASSAR had and was continuing to sexually assault, abuse, and molest

an unknown number of patients, including Plaintiff, and other individuals.

       227. MSU Defendants knew the above representations regarding NASSAR were false

because there had been previous complaints in 1997 and later through MSU ALLEGATIONS to

MSU employees, agents, and/or representatives about NASSAR's sexual assault, battery,

molestation, and harassment.

       228. Although MSU had been informed of NASSAR's conduct MSU Defendants failed to

investigate, remedy, or in any way address the MSU ALLEGATIONS against NASSAR.

       229. MSU Defendants continued to portray NASSAR as a competent and safe physician.

       230. NASSAR was permitted to continue his employment, and thereby, sexually assault,

abuse, and molest Plaintiff and an unknown number of other individuals, despite numerous

complaints to MSU.

       231. MSU Defendants disregarded complaints because of MSU’s culture, which included

existence of a sexually hostile environment on MSU’s campus and premises and MSU’s failure to




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address complaints of sexual harassment, including sexual violence, in a prompt and equitable

manner, which ultimately perpetuated the hostile environment.

       232. Plaintiff trusted and relied on MSU Defendants' portrayal of NASSAR when she

sought his medical treatment for her injury.

       233. Plaintiff and other members of the public trusted and relied on the assertions of MSU

Defendants and several other young females continued to seek medical treatment from NASSAR

in the wake of known concerns and dangers.

       234. Up until 2016, MSU Defendants continued to portray NASSAR as a safe and

competent physician.

       235. MSU Defendants, by and through their representatives, also affirmatively took steps

to attempt to dissuade victims from speaking with police about their complaints against NASSAR.

       236. MSU Defendants, by and through their representatives, also affirmatively took steps

to attempt to dissuade other potential victims of NASSAR from speaking with police or the media,

by advising the potential victims to respond "No comment" to any requests by media or police.

       237. These actions of MSU Defendants were purportedly done as an attempt to hide the

known instances of sexual abuse committed by NASSAR.

       238. MSU Defendant controlled all of Plaintiff’s medical records and all other of

NASSAR’s victims.

       239. MSU Defendant refused to notify Plaintiff and other NASSAR victims of NASSAR’s

continued abuse and exploitation of girls and women, during NASSAR’s tenure as an employee

and/or agent, and after known facts and new allegations came forward in 2016 and later.

       240. Even after NASSAR being prosecuted and admitting sexual abuse, MSU Plaintiff

still has not come forward to known and expected victims of NASSAR and have fraudulently




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hidden facts, records, and all other aspects of NASSAR’s crimes and have continually concealed

NASSAR’s and MSU Plaintiff’s actions and inactions.

       241. Plaintiff attended USAG sanctioned events and competitions at which NASSAR and

CLINIC staff provided medical care.

       242. As a result of Plaintiff's and the public's trust and reliance on MSU Defendants'

fraudulent misrepresentations regarding NASSAR, Plaintiff and others in Plaintiff's situation were

sexually assaulted, abused, and molested by NASSAR during appointments.

       243. As a direct and proximate result of MSU Defendants' actions and inactions, Plaintiff

has suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional

distress, anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss

of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from

obtaining the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and

continues to sustain loss of earnings and loss of earning capacity.

                          PLAINTIFF’S COUNTS AGAINST USAG


                                         COUNT XV
                                     GROSS NEGLIGENCE


       244. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       245. A special, confidential, and fiduciary relationship was created between Plaintiff and

NASSAR when Plaintiff sought medical treatment from NASSAR, acting in the course of his

employment, agency, and/or representation of USAG, and resulting in NASSAR owing Plaintiff a

duty to use due care.




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          246. NASSAR owed Plaintiff a duty to use due care in providing medical treatment as an

employee, agent, and/or representative of USAG.

          247. USAG owed the public and Plaintiff a duty to use due care to ensure her safety and

freedom from sexual assault, abuse, and molestation while interacting with its employees,

representatives, and/or agents, including NASSAR.

          248. USAG knew or should have known of complaints pertaining to NASSAR's

nonconsensual sexual touching and assaults that occurred under the guise of medical treatment.

          249. NASSAR's conduct in sexually assaulting, abusing, and molesting Plaintiff in the

course of his employment, agency, and/or representation of USAG under the guise of proper

medical treatment was so reckless as to demonstrate a substantial lack of concern for whether an

injury resulted to Plaintiff.

          250. USAG’s failure to adequately supervise NASSAR was so reckless as to demonstrate

a substantial lack of concern for whether an injury resulted to Plaintiff.

          251. USAG’s conduct demonstrated a willful disregard for precautions to ensure Plaintiff's

safety.

          252. USAG’s conduct demonstrated a willful disregard for substantial risks to Plaintiff.

          253. USAG breached its duties owed to Plaintiff, and was grossly negligent when it

conducted itself in the manner described above, including, but not limited to, failing to notify MSU

about the reasons for NASSAR's separation from USAG in 2015 and, more broadly, the issues

surrounding sexual abuse and warning signs and reporting requirements.

          254. These acts by USAG were committed with reckless disregard to Plaintiff's safety,

health, constitutional and/or statutory rights, and with substantial lack of concern to whether an

injury resulted to Plaintiff.




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       255. As a direct and proximate result of USAG’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining

the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.

                                           COUNT XVI
                                          NEGLIGENCE


       256. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       257. Plaintiff attended USAG sanctioned events and competitions at which NASSAR and

CLINIC staff provided medical care.

       258. A special, confidential, and fiduciary relationship was created between Plaintiff and

NASSAR when Plaintiff sought medical treatment from NASSAR in the course of his

employment, agency, and/or representation of USAG, resulting in NASSAR owing Plaintiff a duty

to use ordinary care.

       259. NASSAR owed Plaintiff a duty to use ordinary care in providing medical treatment.

       260. USAG owed the public and Plaintiff a duty to use ordinary care to ensure her safety

and freedom from sexual assault, abuse, and molestation while interacting with their employees,

representatives, and/or agents, including NASSAR.

       261. NASSAR's conduct in sexually assaulting, abusing, and molesting Plaintiff in the

course of his employment, agency, and/or representation of USAG under the guise of proper

medical treatment was a breach of the duty to use ordinary care.




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         262. USAG's failure to adequately train and supervise NASSAR breached the duty of

ordinary care.

         263. USAG's failure to properly investigate, address, and remedy complaints regarding

NASSAR's conduct was a breach of ordinary care.

         264. USAG's failure to inform the public, including individuals USAG had referred to

NASSAR for treatment, of the allegations leading to NASSAR's separation for USAG was a

breach of ordinary care.

         265. NASSAR's conduct in sexually assaulting, abusing, and molesting Plaintiff was a

breach of the duty to use ordinary care.

         266. As a direct and proximate result of USAG’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining

the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.

                                        COUNT XVII
                                    VICARIOUS LIABILITY


         267. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

         268. Vicarious liability is indirect responsibility imposed by operation of law where an

employer is bound to keep its employees within their proper bounds and is responsible if it fails to

do so.




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       269. Vicarious liability essentially creates agency between the principal and its agent so

that the principal is held to have done what the agent has done.

       270. USAG's website, during NASSAR’s tenure of employment, agency, and/or

representation of USAG, contained sites portraying NASSAR as the recipient of distinguished

awards and boasts him as having been instrumental to the success of USA gymnastics.

       271. USAG employed and/or held NASSAR out to be its agent and/or representative from

approximately 1986 to 2015.

       272. USAG is vicariously liable for the actions of NASSAR, as described above, that were

performed during the course of his employment, representation, and/or agency with USAG.

       273. USAG had actual and/or constructive knowledge of NASSAR sexually assaulting,

battering, molesting, and harassing young females on several occasions under the guise of medical

treatment and/or during the course of his employment, agency, and/or representation with USAG,

beginning in 1997 and/or 1998.

       274. USAG had actual and/or constructive knowledge of NASSAR's propensity for

sexually assaulting, battering, molesting, and harassing his patients and other females under the

guise of medical treatment and/or during the course of his employment, agency, and/or

representation with USAG, beginning in 1997 and/or 1998.

       275. It was reasonably foreseeable that NASSAR would continue to sexually assault,

batter, molest, and harass females (under the guise of medical treatment and/or during the course

of his employment, agency, and/or representation with the USAG) with the actual and/or

constructive knowledge USAG had of such conduct.

       276. As a direct and proximate result of USAG’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,




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anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining

the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.

                                      COUNT XVIII
                                 EXPRESS/IMPLIED AGENCY


       277. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       278. An agent is a person who is authorized by another to act on its behalf and USAG

intentionally and/or negligently made representations that NASSAR was its employee, agent,

and/or representative.

       279. On the basis of those representations, Plaintiff reasonably believed that NASSAR

was acting as an employee, agent, and/or representative of USAG.

       280. Upon information and belief, USAG referred significant numbers of gymnasts to

NASSAR for medical treatment at his office on MSU’s campus.

       281. Plaintiff was injured as a result of NASSAR's sexual assault, abuse, and molestation,

as described above. These acts were performed during the course of NASSAR's employment,

agency, and/or representation with USAG.

       282. Plaintiff was injured because she relied on USAG to provide employees, agents, and

representatives who exercise reasonable skill and care.

       283. As a direct and proximate result of USAG’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-




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esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining

the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.

                                        COUNT XIX
                                  NEGLIGENT SUPERVISION


       284. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       285. USAG had a duty to provide reasonable supervision of its employee, agent, and/or

representative, NASSAR, while he was in the course of his employment, agency, and/or

representation with USAG and while he interacted with young female athletes and Plaintiff.

       286. Given the known sexual abuse in youth sports and gymnastics, it was reasonably

foreseeable that NASSAR, who had prior allegations against him, would sexually abuse his

patients, including Plaintiff, unless properly supervised.

       287. USAG by and through its employees, agents, managers, and/or assigns, such as Mr.

Penny and Mr. Colarassi, knew or reasonably should have known of NASSAR's conduct and/or

that NASSAR was an unfit employee, agent, and/or representative because of his sexual interest

in children and his sexual deviancy towards women of all ages.

       288. USAG breached its duty to provide reasonable supervision of NASSAR, and

permitted NASSAR, who was in a position of trust and authority, to sexually assault, abuse,

molest, and harass Plaintiff.

       289. The above sexual assault, abuse, molestation, and harassment occurred while

NASSAR was in the course of his employment, agency, and/or representation with USAG.




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        290. USAG tolerated, authorized, and/or permitted a custom, policy, practice, or

procedure of insufficient supervision and failed to adequately screen, counsel, or discipline such

individuals, resulting in NASSAR violating the rights of USAG members, such as Plaintiff, with

impunity.

        291. As a direct and proximate result of USAG’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining

the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.

                                    COUNT XX
                      NEGLIGENT FAILURE TO WARN OR PROTECT


        292. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

        293. Given the direct or indirect knowledge of sexual abuse in youth sports, and in

particular gymnastics, it was reasonably foreseeable that sexual abuse of young females may occur

if proper procedures were not put in place by USAG.

        294. USAG knew or should have known that NASSAR posed a risk of harm to Plaintiff

and/or others in Plaintiff's situation.

        295. USAG knew or should have known that NASSAR committed sexual assault, abuse,

and molestation and/or was continuing to engage in such conduct.

        296. USAG had actual and/or constructive knowledge as to the dangerous conduct of

NASSAR and failed to act reasonably and responsibly in response.




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       297. USAG had a duty to warn or protect the public, Plaintiff, and others in Plaintiff's

situation against the risk of injury by NASSAR.

       298. The special, trusting, confidential, and fiduciary relationship between NASSAR, in

his capacity as an employee, agent, and/or representative of USAG, and Plaintiff created a duty to

disclose this information.

       299. USAG breached the duty owed to Plaintiff by failing to warn the public and Plaintiff

and/or by failing to take reasonable steps to protect the public and Plaintiff from NASSAR.

       300. USAG breached its duties to protect Plaintiff by failing to detect and/or uncover

evidence of sexual assault, abuse, molestation, and harassment.

       301. USAG breached its duty to protect Plaintiff by failing to investigate, adjudicate,

suspend, and/or ban NASSAR from USAG affiliation.

       302. USAG failed to adequately screen, counsel and/or discipline NASSAR for physical

and/or mental conditions that might have rendered him unfit to discharge the duties and

responsibilities of a physician in his capacity as an employee, agent, and/or representative of

USAG, resulting in violations of Plaintiff's rights.

       303. USAG willfully refused to notify, give adequate warning, and implement appropriate

safeguards to protect Plaintiff from NASSAR's conduct.

       304. As a direct and proximate result of USAG’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining

the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.




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                                    COUNT XXI
                      NEGLIGENT FAILURE TO TRAIN OR EDUCATE


       305. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       306. USAG had a duty to protect the public and Plaintiff and others in Plaintiff's situation

against the risk of injury by NASSAR.

       307. USAG breached the duty owed to the public and Plaintiff to take reasonable

protective measures to protect Plaintiff, and others in Plaintiff's situation, by failing to properly

train or educate Plaintiff, and other individuals in Plaintiff's situation, about how to avoid a risk of

sexual assault and/or sexual abuse, including sexual assault and/or sexual abuse by NASSAR.

       308. USAG failed to implement reasonable safeguards to:

            a. Prevent acts of sexual assault, abuse, and molestation by NASSAR; and

            b. Avoid placing NASSAR in positions where he would have unsupervised

                contact and interaction with Plaintiff and other young athletes.

       309. As a direct and proximate result of USAG’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining

the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.

                                         COUNT XXII
                                    NEGLIGENT RETENTION




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         310. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

         311. USAG had a duty owed to Plaintiff and others in Plaintiff's situation when

credentialing, hiring, retaining, screening, checking, regulating, monitoring, and supervising

employees, agents, and/or representative to exercise due care.

         312. USAG breached the duties owed to Plaintiff by failing to adequately investigate,

report, and address complaints about NASSAR's conduct, which USAG knew or should have

known.

         313. USAG breached the duties owed to Plaintiff when USAG retained NASSAR as an

employee, agent, and/or representative after USAG discovered or should have reasonably

discovered NASSAR's conduct, which reflected a propensity for sexual misconduct.

         314. USAG's failure to act in accordance with the standard of care resulted in NASSAR

gaining access to and sexually assaulting and/or sexually abusing Plaintiff and an unknown number

of other individuals.

         315. The above conduct of USAG in credentialing, hiring, retaining, screening, checking,

regulating, monitoring, and supervising of NASSAR created a foreseeable risk of harm to Plaintiff

and other minors and young adults.

         316. USAG’s retention of NASSAR resulted in Plaintiff relying on such credentials as she

sought medical treatment.

         317. As a direct and proximate result of USAG’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining




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the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.

                                 COUNT XXIII
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS


       318. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       319. USAG allowed NASSAR to be in a position where he could sexually assault, abuse,

and molest children and young adults.

       320. USAG held NASSAR in high esteem and acclaim, which encouraged Plaintiff and

others to respect and trust NASSAR and seek out his services without questioning his motives or

methods.

       321. USAG protected NASSAR in part to bolster and sustain his national and international

reputation in the gymnastics community.

       322. A reasonable person would not expect USAG to tolerate or permit an employee,

agent, and/or representative to carry out sexual assault, battery, molestation, or harassment after

the USAG Defendants knew or should have known of complaints of such sexual assault, battery,

molestation, and harassment occurring during NASSAR's treatments.

       323. A reasonable person would not expect USAG to be incapable of supervising

NASSAR and/or preventing NASSAR from conducting acts of sexual assault, abuse, molestation,

and harassment.

       324. By protecting NASSAR and encouraging the perpetuation of his reputation, USAG

acted in a way that was beyond all possible bounds of decency in failing to protect Plaintiff and

others from NASSAR's conduct.




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       325. USAG's conduct as described above was intentional and/or reckless, and constitutes

extreme and outrageous conduct.

       326. As a direct and proximate result of USAG’s egregious, extreme, and outrageous

actions and inactions, Plaintiff has suffered and continues to suffer pain of mind and body, mental

anguish, shock, emotional distress, anxiety, sleep issues, physical manifestations of emotional

distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life,

has been prevented from obtaining the full enjoyment of sexual life, spiritual conflict and

confusion, and has sustained and continues to sustain loss of earnings and loss of earning capacity.

                                    COUNT XXIV
                            FRAUD AND MISREPRESENTATION


       327. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       328. From approximately 1996 to summer 2015, USAG represented to Plaintiff and the

public that NASSAR was a competent, safe, and highly regarded physician.

       329. By representing, including on its own website, that NASSAR was a team physician

and an athletic physician at MSU and a National Team Physician with USAG, USAG represented

to Plaintiff and the public that NASSAR was safe, trustworthy, and of high moral and ethical repute

and that Plaintiff and the public could readily utilize the services of NASSAR without being

harmed.

       330. The above representations regarding NASSAR’s reputation and character were false

when they were made because NASSAR had and was continuing to sexually assault, batter, molest,

and harass his patients and other individuals.




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       331. Additionally, complaints were made to USAG, yet USAG did not contact Plaintiff,

the police, MSU Defendants, other individuals it had referred to NASSAR, or any other clubs or

organizations affiliated with NASSAR to inform them of the allegations and potential harm to

Plaintiff and others.

       332. USAG continued to portray NASSAR as a competent and safe physician, including

on its own website, perpetuating and intentionally inducing Plaintiff and the public to rely on the

reputation of NASSAR.

       333. Plaintiff trusted and relied on the assertions of USAG and sought medical treatment

from NASSAR while USAG knew of concerns and dangers.

       334. As a result of Plaintiff's and the public's trust and reliance on USAG's fraudulent

misrepresentation regarding NASSAR, Plaintiff and others were sexually assaulted, abused,

molested, and harassed by NASSAR.

       335. As a direct and proximate result of USAG’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining

the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.

        PLAINTIFF’S ACCOUNTS AGAINST TWISTARS AND JOHN GEDDERT
                          (collectively “TWISTARS”)

                                    COUNT XXV
                         GROSS NEGLIGENCE AND NEGLIGENCE


       336. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.



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         337. TWISTARS owed Plaintiff a duty to use due care, and a duty of ordinary care, to

ensure her safety and freedom from sexual assault, abuse, and molestation while interacting with

its employees, representatives, and/or agents, including NASSAR, when Plaintiff was an invitee

and under a contractual obligation for services.

         338. Plaintiff was a gymnast who was contracted, through her parents, with TWISTARS

to provide gymnastics training.

         339. TWISTARS is a business incorporated and legally formed in the State of Michigan,

under the laws of Michigan, and provided gymnastics training to Plaintiff.

         340. Plaintiff entered TWISTARS’s premises for the purpose of eliciting services from

TWISTARS, who did provide such services for commercial gain.

         341. Plaintiff had a reasonable expectation to enter TWISTARS for the services she

contracted and was invited for and a reasonable person would expect TWISTARS to not tolerate

or permit an employee, agent, or representative to break the law, specifically to not carry out sexual

assault, abuse, or molestation under the guise of medical treatment.

         342. TWISTARS owed the public and Plaintiff a duty to use due care to ensure safety and

freedom from sexual assault, abuse, and molestation while interacting with their employees,

representatives, and/or agents.

         343. TWISTARS owed Plaintiff a duty to maintain and prepare its premises, employees,

representatives, and agents in a manner that would reasonably keep Plaintiff safe from

unreasonable risks known to TWISTARS, or that should have been known by TWISTARS.

TWISTARS owed a duty to warn Plaintiff of open and obvious dangers to her safety and well-

being.




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        344. TWISTARS contained knowledge that it could reasonably foresee that NASSAR

would carry out criminal activity and TWISTARS did not actively take reasonable measures to

ensure that such criminal activity was thwarted and not perpetuated on its premises.

        345. TWISTARS likewise created an environment that was hostile to its members by

subjecting them to imminent and known harm with active negligence. TWISTARS created an

environment that was excessively competitive at any and all costs, including utilizing and

associating with NASSAR. By associating and inviting NASSAR into its facility, TWISTARS

took upon itself the duties that are carried by such invitation and attached a duty to keep its

gymnasts safe against reasonable harm. Plaintiff entered into a special, confidential, and fiduciary

relationship with NASSAR and TWISTARS, when TWISTARS allowed, encouraged, and gained

notoriety by having NASSAR perform medical treatment on its premises. TWISTARS therefore

owed a duty to use care and ensure that its employees, agents, and/or representatives would use

reasonable care and skill and not harm Plaintiff.

        346. TWISTARS intentionally created a hostile and harmful environment, breaching their

duty to its gymnasts, by giving NASSAR a specific place in the gym to see the girls, clearing out

a closet to give him privacy, encouraging the gymnasts to see NASSAR, and keeping the gym

open after hours so he could see more girls in a private and secluded setting, including Plaintiff.

        347. TWISTARS’s conduct demonstrated a willful disregard for precautions to ensure

Plaintiff’s safety.

        348. TWISTARS breached its contract with Plaintiff by not upholding a safe environment

for her to train.




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       349. TWISTARS held NASSAR out as a valuable part of their training and encouraged

gymnasts, including Plaintiff, to seek his medical advice, knowingly placing the gymnasts,

including Plaintiff, in imminent danger of harm and molestation.

       350. TWISTARS knew or should have known of complaints pertaining to NASSAR's

nonconsensual sexual touching and assaults that occurred under the guise of medical treatment.

As early as 1997 John Geddert, TWISTARS’s owner and operator at the time of Plaintiff’s harm,

knew of specific allegations and complaints from other gymnasts that NASSAR was

inappropriately touching them and making them uncomfortable. Geddert had readily identifiable

and foreseeable knowledge that NASSAR was a danger to his gymnasts, including Plaintiff.

Geddert made a willful election to ignore such complaints for his continued business gain and

increased reputation by specifically and intentionally allowing, and even encouraging, NASSAR

to continue seeing his gymnasts in his gym, with his permission, and with NASSAR being a

representative and/or agent of TWISTARS.

       351. AS TO GROSS NEGLIGENCE:

           a. NASSAR's conduct in sexually assaulting, abusing, and molesting Plaintiff in the

              course of his employment, agency, and/or representation of TWISTARS under the

              guise of proper medical treatment was so reckless as to demonstrate a substantial

              lack of concern for whether an injury resulted to Plaintiff, specifically when such

              action was foreseeable.

           b. TWISTARS’s failure to adequately supervise NASSAR and to properly investigate

              known allegations against NASSAR was so reckless as to demonstrate a substantial

              lack of concern for whether an injury resulted to Plaintiff.




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            c. These acts by TWISTARS were committed with reckless disregard to Plaintiff's

                safety, health, constitutional and/or statutory rights, and with substantial lack of

                concern to whether an injury resulted to Plaintiff, abridging TWISTARS’s duty to

                keep Plaintiff safe, and therefore TWISTARS’s actions were grossly negligent.

         352. AS TO NEGLIGENCE:

            a. TWISTARS’s conduct demonstrated a willful disregard for precautions to ensure

                Plaintiff's safety, creating a substantial, imminent, and real risk to Plaintiff.

            b. TWISTARS’s failure to properly investigate, address, and remedy complaints

                regarding NASSAR's conduct was a breach of ordinary care and was therefore

                negligent.

         353. As a direct and proximate result of TWISTARS’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining

the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.

                                         COUNT XXVI
                                     VICARIOUS LIABILITY


         354. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

         355. Vicarious liability is indirect responsibility imposed by operation of law where an

employer is bound to keep its employees within their proper bounds and is responsible if it fails to

do so.




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       356. Vicarious liability essentially creates agency between the principal and its agent so

that the principal is held to have done what the agent has done.

       357. TWISTARS employed and/or held NASSAR out to be its agent and/or

representative.

       358. TWISTARS paid NASSAR with gratuities, complimentary food, travel, and other

valuable consideration when he was working for, and/or representing TWISTARS at competitions,

practices, and other events.

       359. TWISTARS held NASSAR out as a valuable part of their training and encouraged

gymnasts to seek his medical advice, knowingly placing the gymnasts in imminent danger of harm

and molestation.

       360. TWISTARS is vicariously liable for the actions of NASSAR, as described above,

that were performed during the course of his employment, representation, and/or agency with

TWISTARS.

       361. TWISTARS had actual and/or constructive knowledge of NASSAR sexually

assaulting, battering, molesting, and harassing young females on several occasions under the guise

of medical treatment and/or during the course of his employment, agency, and/or representation

with TWISTARS.

       362. TWISTARS had actual and/or constructive knowledge of NASSAR's propensity for

sexually assaulting, battering, molesting, and harassing his patients and other females under the

guise of medical treatment and/or during the course of his employment, agency, and/or

representation with TWISTARS, beginning in or around 1996.

       363. It was reasonably foreseeable that NASSAR would continue to sexually assault,

batter, molest, and harass females (under the guise of medical treatment and/or during the course




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of his employment, agency, and/or representation with the TWISTARS) with the actual and/or

constructive knowledge TWISTARS had of such conduct.

       364. As a direct and proximate result of TWISTARS’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining

the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.

                                      COUNT XXVII
                                 EXPRESS/IMPLIED AGENCY


       365. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       366. An agent is a person who is authorized by another to act on its behalf. TWISTARS

intentionally and/or negligently made representations that NASSAR was its employee, agent,

and/or representative.

       367. On the basis of those representations, Plaintiff reasonably believed that NASSAR

was acting as an employee, agent, and/or representative of TWISTARS.

       368. Upon information and belief, TWISTARS referred significant numbers of gymnasts

to NASSAR for medical treatment at his office on MSU’s campus and to CLINIC.

       369. Plaintiff was injured as a result of NASSAR's sexual assault, abuse, and molestation,

as described above. These acts were performed during the course of NASSAR's employment,

agency, and/or representation with TWISTARS.




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       370. Plaintiff was injured because she relied on TWISTARS to provide employees, agents,

and representatives who exercise reasonable skill and care.

       371. As a direct and proximate result of TWISTARS’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining

the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.

                                       COUNT XXVIII
                                    NEGLIGENT SUPERVISION



       372. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       373. TWISTARS had a duty to provide reasonable supervision of its employee, agent,

and/or representative, NASSAR, while he was in the course of his employment, agency, and/or

representation with TWISTARS and while he interacted with young female athletes and Plaintiff.

       374. Given the known sexual abuse in youth sports and gymnastics, it was reasonably

foreseeable that TWISTARS, who had prior allegations against him, would sexually abuse his

patients, including Plaintiff, unless properly supervised.

       375. TWISTARS by and through its employees, agents, managers, and/or assigns, such as

Mr. and Mrs. Geddert, knew or reasonably should have known of NASSAR's conduct and/or that

NASSAR was an unfit employee, agent, and/or representative because of his sexual interest in

children and young adults.




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       376. TWISTARS breached its duty to provide reasonable supervision of NASSAR, and

permitted NASSAR, who was in a position of trust and authority, to sexually assault, abuse,

molest, and harass Plaintiff.

       377. The above sexual assault, abuse, molestation, and harassment occurred while

NASSAR was in the course of his employment, agency, and/or representation with TWISTARS.

       378. TWISTARS tolerated, authorized, encouraged, and/or permitted a custom, policy,

practice, or procedure of insufficient supervision and failed to adequately screen, counsel, or

discipline such individuals, resulting in the allowance of NASSAR to violate the rights of persons

such as Plaintiff with impunity.

       379. As a direct and proximate result of TWISTARS’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining

the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.

                                   COUNT XXIX
                       NEGLIGENT FAILURE TO WARN OR PROTECT



       380. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       381. Given the direct or indirect knowledge of sexual abuse in youth sports in general, and

because John Geddert has specific knowledge of NASSAR’s proclivities by direct complaints from

gymnasts, it was reasonably foreseeable that sexual abuse of young females may occur if proper

procedures were not put in place by TWISTARS.



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        382. TWISTARS knew or should have known that NASSAR posed a risk of harm to

Plaintiff and/or others in Plaintiff's situation.

        383. TWISTARS knew or should have known that NASSAR committed sexual assault,

abuse, and molestation and/or was continuing to engage in such conduct.

        384. TWISTARS had actual and/or constructive knowledge as to the dangerous conduct

of NASSAR and failed to act reasonably and responsibly in response.

        385. TWISTARS had a duty to warn or protect the public, Plaintiff, and others in Plaintiff's

situation against the risk of injury by NASSAR.

        386. The special, trusting, confidential, and fiduciary relationship between NASSAR, in

his capacity as an employee, agent, and/or representative of TWISTARS, and Plaintiff created a

duty to disclose this information.

        387. TWISTARS breached the duty owed to Plaintiff by failing to warn the public and

Plaintiff and/or by failing to take reasonable steps to protect the public and Plaintiff from

NASSAR.

        388. TWISTARS breached its duties to protect Plaintiff by failing to detect and/or uncover

evidence of sexual assault, abuse, molestation, and harassment.

        389. TWISTARS breached its duty to protect Plaintiff by failing to investigate, suspend,

and/or ban NASSAR from affiliation with TWISTARS.

        390. TWISTARS failed to adequately screen, counsel, train, investigate, and/or discipline

NASSAR for physical and/or mental conditions that might have rendered him unfit to discharge

the duties and responsibilities of a physician in his capacity as an employee, agent, and/or

representative of TWISTARS, resulting in violations of Plaintiff's rights. TWISTARS likewise

failed to adequately screen, counsel, train, investigate, and/or discipline NASSAR for physical




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and/or mental conditions as an employee, agent, and/or representative of TWISTARS regardless

of NASSAR’s qualification, reputation, or medical license.

       391. TWISTARS willfully refused to notify, give adequate warning, and implement

appropriate safeguards to protect Plaintiff from NASSAR's conduct.

       392. TWISTARS willfully refused to notify, give adequate warning, and implement

appropriate safeguards to protect Plaintiff from NASSAR's conduct.

       393. As a direct and proximate result of TWISTARS’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining

the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.

                                   COUNT XXX
                       NEGLIGENT FAILURE TO TRAIN OR EDUCATE


       394. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       395. TWISTARS had a duty to provide reasonable supervision of its employee, agent,

and/or representative, NASSAR, while he was in the course of his employment, agency, and/or

representation with TWISTARS and while he interacted with young female athletes and Plaintiff.

       396. TWISTARS had a duty by its contract with Plaintiff to create a safe environment to

conduct gymnastics training.




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       397. Given the known sexual abuse in youth sports and gymnastics, it was reasonably

foreseeable that TWISTARS, who had prior allegations against him, would sexually abuse his

patients, including Plaintiff, unless properly supervised.

       398. TWISTARS by and through its employees, agents, managers, and/or assigns, such as

Mr. and Mrs. Geddert, knew or reasonably should have known of NASSAR's conduct and/or that

NASSAR was an unfit employee, agent, and/or representative because of his sexual interest in

children and young women.

       399. TWISTARS breached its duty to provide reasonable supervision of NASSAR, and

permitted NASSAR, who was in a position of trust and authority, to sexually assault, abuse,

molest, and harass Plaintiff.

       400. TWISTARS breached its contract with Plaintiff by creating a hostile environment

and unsafe services for gymnastics training by associating with NASSAR.

       401. The above sexual assault, abuse, molestation, and harassment occurred while

NASSAR was in the course of his employment, agency, and/or representation with TWISTARS.

       402. TWISTARS tolerated, authorized, and/or permitted a custom, policy, practice, or

procedure of insufficient supervision and failed to adequately screen, counsel, or discipline such

individuals, resulting in the allowance of NASSAR to violate the rights of persons such as Plaintiff

with impunity.

       403. As a direct and proximate result of TWISTARS’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining




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the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.

                                       COUNT XXXI
                                   NEGLIGENT RETENTION


       404. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       405. TWISTARS had a duty owed to Plaintiff and others in Plaintiff's situation when

credentialing, hiring, retaining, screening, checking, regulating, monitoring, and supervising

employees, agents, and/or representative to exercise due care.

       406. TWISTARS breached the duties owed to Plaintiff by failing to adequately

investigate, report, and address complaints about NASSAR's conduct, which TWISTARS knew

or should have known.

       407. TWISTARS breached the duties owed to Plaintiff when TWISTARS retained

NASSAR as an employee, agent, and/or representative after TWISTARS discovered, or should

have reasonably discovered, and knew of NASSAR’s allegations and conduct from other

gymnasts, which reflected a propensity for sexual misconduct.

       408. TWISTARS’s failure to act in accordance with the standard of care resulted in

NASSAR gaining access to and sexually assaulting and/or sexually abusing Plaintiff and an

unknown number of other individuals.

       409. The above conduct of TWISTARS in credentialing, hiring, retaining, screening,

checking, regulating, monitoring, and supervising of NASSAR created a foreseeable risk of harm

to Plaintiff and other minors and young adults.




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       410. TWISTARS’s retention of NASSAR resulted in Plaintiff relying on such credentials

as she sought medical treatment.

       411. As a direct and proximate result of TWISTARS’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining

the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.

                                    COUNT XXXII
                            FRAUD AND MISREPRESENTATION


       412. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       413. At all relevant times of Plaintiff’s relationship with TWISTARS, TWISTARS

represented to Plaintiff and the public that NASSAR was a competent, safe, and highly regarded

physician.

       414. By representing that NASSAR was a team physician and an athletic physician at

MSU, a National Team Physician with USAG, and the Team Physician with TWISTARS,

TWISTARS represented to Plaintiff and the public that NASSAR was safe, trustworthy, and of

high moral and ethical repute and that Plaintiff and the public could readily utilize the services of

NASSAR without being harmed.

       415. The above representations regarding NASSAR’s character were false when they were

made because NASSAR had and was continuing to sexually assault, batter, molest, and harass

unknown number of his patients and other individuals.




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       416. Additionally, complaints were made to TWISTARS, yet TWISTARS did not contact

Plaintiff, the police, MSU, USAG, other individuals it had referred to NASSAR, or any other clubs

or organizations affiliated with NASSAR to inform them of the allegations and potential harm to

Plaintiff and others.

       417. TWISTARS continued to portray NASSAR as a competent and safe physician,

intentionally inducing Plaintiff and the public to rely on the reputation of NASSAR that

TWISTARS was perpetuating.

       418. Plaintiff trusted and relied on the assertions of TWISTARS and sought medical

treatment from NASSAR while TWISTARS knew of concerns and dangers.

       419. As a result of Plaintiff's and the public's trust and reliance on TWISTARS’s

fraudulent misrepresentation regarding NASSAR, Plaintiff and others in Plaintiff's situations were

sexually assaulted, abused, molested, and harassed by NASSAR.

       420. Plaintiff was subjected to sexual assault, abuse, molestation, and harassment as a

result of TWISTARS’s fraudulent misrepresentations regarding NASSAR.

       421. As a direct and proximate result of TWISTARS’s actions and inactions, Plaintiff has

suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

anxiety, sleep issues, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been prevented from obtaining

the full enjoyment of sexual life, spiritual conflict and confusion, and has sustained and continues

to sustain loss of earnings and loss of earning capacity.

        DAMAGES FOR ALL CAUSES OF ACTION IN THIS COMPLAINT AND
                       AGAINST ALL DEFENDANTS




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       422. Plaintiff incorporates by reference the allegations contained in the previous

paragraphs.

       423. As a direct and proximate result of all Defendants’ combined actions and inactions,

Plaintiff has suffered and continues to suffer pain of mind and body, mental anguish, shock,

emotional distress, anxiety, sleep issues, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, has been

prevented from obtaining the full enjoyment of sexual life, spiritual conflict and confusion, and

has sustained and continues to sustain loss of earnings and loss of earning capacity.

       424. The conduct, actions and/or inactions of Defendants as alleged in the above stated

counts and causes of action constitute violations of Plaintiff's Constitutional and Federal rights as

well as the common and/or statutory laws of the State of Michigan, and the United States District

Court has jurisdiction to hear and adjudicate all claims.

       425. In whole or in part, as a result of some or all of the above actions and/or inactions of

Defendants, Plaintiff has and continues to suffer irreparable harm as a result of the violations.

       426. The amount in controversy exceeds the jurisdictional minimum of $75,000.00.




        WHEREFORE, Plaintiff requests this Court and the finder of fact enter a Judgment

 in Plaintiff’s favor against all named Defendants on all counts and claims as indicated above

 in an amount consistent with the proofs of trial, and seeks against Defendants all appropriate

 damages arising out of law, equity, and fact for each or all of the above counts where applicable

 and hereby requests that the trier of fact, be it judge or jury, award Plaintiff all applicable

 damages, including but not limited to compensatory, special, exemplary, and/or punitive

 damages, in whatever amount the Plaintiff is entitled, and all other relief arising out of law,




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equity, and fact, also including but not limited to:

           (a) Compensatory damages in an amount to be determined as fair and just under

           the circumstances, by the trier of fact including, but not limited to medical expenses,

           loss of earnings, mental anguish, anxiety, humiliation, and embarrassment,

           violation of Plaintiffs Constitutional, Federal, and State rights, loss of social

           pleasure and enjoyment, and other damages to be proved;

           (b) Punitive and/or exemplary damages in an amount to be determined as

           reasonable or just by the trier of fact;

           (c) Reasonable attorney fees, interest, and costs; and

           (d) Other declaratory, equitable, and/or injunctive relief, including, but not limited

           to implementation of institutional reform and measures of accountability to ensure

           the safety and protection of young athletes and other individuals, as appears to be

           reasonable and just.



Dated: September 6, 2018                      RESPECTFULLY SUBMITTED,



                                              /s/ PAUL H. GRANT
                                              PAUL H. GRANT (P72906)
                                              PLANNING WITH PURPOSE, INC
                                              Attorney for Plaintiff
                                              2031 – 196th St SW, Suite B-201
                                              Lynnwood, WA 98036
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                                              paul@planningwithpurposeinc.com




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                                            /s/ MATTHEW A. FERRI
                                            MATTHEW A. FERRI (P71439)
                                            LAW OFFICE OF MATTHEW A. FERRI, PLLC
                                            Attorney for Plaintiff
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                                            Bloomfield Hills, Michigan 48304
                                            T (248) 409-0256 / F: (248) 409-0266
                                            matt@ferrilawpllc.com




                                       JURY DEMAND


        Plaintiff, by and through her attorneys, PAUL H. GRANT of Planning With Purpose,

 Inc, and MATTHEW FERRI of THE LAW OFFICE OF MATTHEW A. FERRI, hereby

 demand a trial by jury on all claims set forth above.


Dated: September 6, 2018                    RESPECTFULLY SUBMITTED,

                                            /s/ PAUL H. GRANT
                                            PAUL H. GRANT (P72906)
                                            PLANNING WITH PURPOSE, INC
                                            Attorney for Plaintiff
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                                            /s/ MATTHEW A. FERRI
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       Potential Adverse Parties:                 Michigan State University
                                                  Lawrence Nassar, William Strampel,
                                                  Jeffrey R. Kovan, Douglas Dietzel,


       Potential Claims:                          Violations of Title IX; 42 U.S.C. § 1983;
                                                  Sexual Assault; Sexual Battery; Constructive Fraud;
                                                  Negligence; Gross Negligence; Negligent
                                                  Supervision; Negligent Hiring and Retention;
                                                  Negligence Failure to Warn, Train, or Educate;
                                                  Vicarious Liability-Agency Respondeat Superior;
                                                  Express or Implied Agency; Medical Malpractice;
                                                  Fraudulent Concealment; Failure to Notify
                                                  Claimant

       Pending Litigation:                        Denhollander, et al v. Michigan State University, et
                                                  al., U.S. Dist. Ct., W.D. Mich. Case No. 1:17-cv-
                                                  00029. All allegations pleaded in this litigation are
                                                  incorporated by reference.

To Whom It May Concern:

Please be advised the law firms of Planning With Purpose, Inc. and Law Office of Matthew A.
Ferri, PLLC, represent the individual listed above. This notice is for Jane R. G. Doe, a minor at all
times of the allegations, who was a victim of sexual assault by Lawrence Nassar, an employee of
Michigan State University.

Pursuant to MCL 600.6431, please accept this letter as a Notice of Intent to File Claim, which
includes a notarized signature from our client’s legal representative, Attorney Matthew A. Ferri.
Plaintiff intends to file a civil action for declaratory, injunctive, equitable, and monetary relief in
the United States District Court, Western District of Michigan.

This Notice serves as our client's formal intent to file claims against Michigan State University,
Lawrence Nassar, a former employee/agent/representative of Michigan State University, and any
other entity, division, department, representative or agent of MSU involved in the treatment of
claimants, investigation of complaints, or involved in the employment aspects of Lawrence Nassar,
including but not limited to hiring, retention, supervision, and monitoring.

Our client's potential claims include, but are not limited to the following:

   •   Violations of Title IX
   •   42 U.S.C. §1983
   •   Sexual Assault
   •   Sexual Battery
   •   Constructive Fraud


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   •   Negligence
   •   Gross Negligence
   •   Negligent Supervision
   •   Negligent Hiring and Retention
   •   Negligent Failure to Warn, Train, or Education
   •   Vicarious Liability-Agency-Respondeat Superior
   •   Express or Implied Agency
   •   Medical Malpractice
   •   Fraudulent Concealment
   •   Failure to Notify Claimant

The claims arise out of multiple instances of sexual assault and battery, molestation, and
harassment of our client by then Dr. Lawrence Nassar, an employee/agent/representative, etc. of
Michigan State University in approximately 2007. Specifically, the claims arise out of Nassar's
touching of our client's genital area without proper notice, gloves, lubricant, or chaperones under
the guise of providing medical care and treatment, at his office Michigan State University. It is our
belief Nassar used his position of trust and confidence in an abusive manner.

Our client was made aware of Nassar's conduct on or around September 12, 2016, following
publication regarding a complaint filed with the Michigan State University Police, and the media
coverage that ensued following the initial article.

Our client has injuries including but not limited to shock, humiliation, emotional distress, and
related physical manifestations thereof, psychological injury, embarrassment, loss of self-esteem,
disgrace, loss of earnings or earning capacity, and loss of enjoyment of life.

Please be advised that we reserve the right to amend this Notice to include additional claims or
defendants discovered through the course of litigation. We also reserve the right to amend the
claimant’s signature in the event she is not able to proceed under the pseudonym, Jane R. G. Doe.

                                                 Sincerely,


                                            Matthew A. Ferri




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